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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


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                                     )
                                     )
    United States of America,        ) File No. CR-10-187
                                     )           (MJD/FLN)
            Plaintiff,               )
                                     )
    vs.                              ) Minneapolis, Minnesota
                                     ) October 5, 2011
    (1) Amina Farah Ali and          ) 9:20 a.m.
    (2) Hawo Mohamed Hassan,         )
                                     )
            Defendants.              )
                                     )
                                     )
   -----------------------------------------------------------




          BEFORE THE HONORABLE MICHAEL J. DAVIS and a Jury
                 UNITED STATES DISTRICT COURT JUDGE


                          (TRIAL - VOLUME III)




       Proceedings recorded by mechanical stenography;
   transcript produced by computer.



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18                                     Hassan Hassan

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 1                             P R O C E E D I N G S

 2                                 IN OPEN COURT

 3                               (JURY NOT PRESENT)

 4                  THE COURT:    Let's swear the interpreters in,

 5      please.

 6                  THE CLERK:    Please raise your right hands.

 7            (Interpreters sworn.)

 8                  THE COURT:    Sidebar.

 9            (At sidebar.)

10                  THE COURT:    Good morning.

11                  DEFENDANT ALI:    I have to tell the reason.        I'm

12      telling you something about yesterday of the conversation

13      and your idea about the hadith.       The way you talk to me

14      yesterday, I change my mind last night.        Since you discuss

15      with me about the idea of religion and those things, I

16      started changing my mind and I want to respect it to stand

17      up.

18                  And the past, I want you to forgive me since I

19      have wrong idea.      It wasn't wrong, but I change my mind

20      because of the religion, so that I change my mind since I

21      have a different idea.

22                  THE COURT:    You should know that I do respect your

23      religion.

24                  DEFENDANT ALI:    Thank you.

25                  THE COURT:    And I respect you.



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 1                  DEFENDANT ALI:    Thank you.

 2                  THE COURT:   It's very important that you know

 3      that, and I am glad we had the conversation yesterday so you

 4      would know.

 5                  DEFENDANT ALI:    It was good for me to talk to you.

 6                  THE COURT:   And you should know that, even more,

 7      that I have gone to Egypt and taught Egyptian judges and

 8      they are Muslim.     I have gone to Uganda and taught judges

 9      there that are Muslim.      I have been to Senegal and that is a

10      Muslim country and I have taught judges there.

11                  Then I have gone to the Kingdom of Saudi Arabia

12      and met with the high officials in the government to have

13      sharia judges come to the United States and I was able to

14      convince them, the king, to allow the sharia judges to come

15      to the United States.      They studied in Washington, D.C., and

16      then they honored me by coming to Minnesota and spending a

17      week here learning about our court system here in Minnesota.

18                  So it is important that not only your religious

19      beliefs, but anyone else that has religious beliefs, or if

20      they don't have any, be able to practice them.

21                  But it's important that you understand that I'm

22      not asking for you to stand for me, but it's to stand for

23      what this country stands for and our judicial system stands

24      for and the struggles that this country has gone through to

25      get where we are now where there is freedom of religion.



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 1                  And so with you -- if I understand you correctly,

 2      that you will be standing at the beginning and at recesses

 3      for the court and the jury.       Is that correct?

 4                  DEFENDANT ALI:    Yes.

 5                  THE COURT:   Now, I will not sign any more orders

 6      dealing with your contempt and at the appropriate time at

 7      the end of this trial Mr. Scott will bring a motion that I

 8      not enforce those contempt citations against you.

 9                  And I will release you from custody of the jail

10      and I will put a monitor on your ankle so we will know where

11      you are at all times.      Are you willing to abide by those

12      rules?

13                  DEFENDANT ALI:    I will follow if you forgive me

14      the past since I have a wrong idea.

15                  THE COURT:   I understand that and if you need

16      to -- I never personally felt any animosity towards you.        It

17      is the Court's position that as an officer of this court all

18      parties and all individuals attending court respect the

19      court.

20                  And I will certainly -- I have given an indication

21      to Mr. Scott that if you continue to honor your commitment

22      and stand at the appropriate times and not be disruptive in

23      court, that he can make a motion that will allow the Court

24      to forgive your past behavior.

25                  DEFENDANT ALI:    I will follow and I am going to do



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 1      that forever.

 2                  THE COURT:   All right.     And do you understand that

 3      we will put a bracelet on your ankle?

 4                  DEFENDANT ALI:      No problem.

 5                  THE COURT:   All right.     Mr. Scott?

 6                  MR. SCOTT:   Nothing further, Your Honor.

 7                  THE COURT:   Anything for the government?

 8                  MR. PAULSEN:    Can we cancel the research project?

 9                  THE COURT:   Yes.

10                  DEFENDANT ALI:      Okay.   Thank you.

11                  MR. KELLY:   Your Honor, does this merit an

12      explanation to the jury if --

13                  MR. SCOTT:   As far as I am concerned --

14                  MR. KELLY:   -- the jurors --

15                  MR. SCOTT:   I mean, nobody has --

16                  COURT REPORTER:     This is not making a good record.

17      You are talking at the same time.

18                  INTERPRETER:    She asked me what they are talking

19      about.

20                  THE COURT:   One thing that we have to do, now that

21      we have had this conversation together, I do need you to go

22      to the front and I will ask you whether or not you will

23      abide by my rules.     And if you say yes, then we can --

24      because we do have a free society and everyone has a right

25      to know what is happening up here, because this is not



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 1      secret.   And it's not an embarrassment to you and I will not

 2      embarrass you at all.      I will have Mr. Scott ask you two or

 3      three questions and you will answer those questions and then

 4      we will be done with this matter.

 5                  DEFENDANT ALI:    Okay.

 6                  THE COURT:   All right?

 7                  DEFENDANT ALI:    Thank you.

 8                  THE COURT:   Agreeable?

 9                  DEFENDANT ALI:    Yes.

10                  THE COURT:   All right.

11           (In open court.)

12                  THE COURT:   Mr. Scott.

13                  MR. SCOTT:   Ms. Ali, up until this morning the

14      Court had ordered you to stand and you had not been

15      standing; is that correct?

16                  DEFENDANT ALI:    Yes.

17                  MR. SCOTT:   And as a result of conversations that

18      you had in open court with the Judge yesterday and thinking

19      it over, you have now made a decision that when the jury

20      comes in and when the Court comes in you are going to stand;

21      is that correct?

22                  DEFENDANT ALI:    Yes.

23                  MR. SCOTT:   And you will do so for the remainder

24      of the trial?

25                  DEFENDANT ALI:    Yes.



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 1                   THE COURT:   All right.    Mr. Scott, at the

 2      appropriate time you will make the appropriate motions at

 3      the end of the trial dealing with the contempt citations.          I

 4      will release her from the custody of the marshal after we

 5      make the appropriate arrangements, and that will be today.

 6                   Mrs. Ali, and you are willing to follow the

 7      conditions of your release that I will be putting on you?

 8                   DEFENDANT ALI:     Yes.

 9                   THE COURT:   All right.    Let's get the jury out.

10      Anything else for the government?

11                   MR. PAULSEN:     No.   I just have to tell somebody

12      something.

13           (Recess taken at 9:33 a.m.)

14                                *     *   *   *      *

15           (9:40 a.m.)

16                                    IN OPEN COURT

17                                    (JURY PRESENT)

18                   THE COURT:   Mr. Paulsen, call your first witness.

19                   MR. PAULSEN:     The United States calls Liban Haji

20      Abdurahman.

21                   THE COURT:   Please step forward, sir.

22           (Witness sworn.)

23                   THE COURT:   Sir, would you state your name for the

24      record, please.

25                   THE WITNESS:     Liban Haji Abdurahman.



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 1                   THE COURT:   And would you spell it for the record.

 2                   THE WITNESS:   Liban, L-i-b, as in boy, a-n, as in

 3      Nancy.    Haji, H, as in Harry, a-j, as in John, i.

 4      Abdurahman spelled A-b, as in boy, d, as in dog, u-r, as in

 5      Robert, a-h, as in Harry, m-a-n, as in Nancy.

 6                   THE COURT:   You may inquire.

 7                                (Liban Abdurahman)

 8                                DIRECT EXAMINATION

 9      BY MR. PAULSEN:

10      Q.   By whom are you employed?

11      A.   By the FBI.

12      Q.   And what do you do for the FBI?

13      A.   I am a language analyst.

14      Q.   And where do you work?

15      A.   I work in Washington, D.C. at headquarters, FBI

16      headquarters.

17      Q.   And under what -- when you say you're a language

18      analyst, can you explain that a little more.

19      A.   Yeah.   My job is to translate document and audio from

20      Somali into English and I also provide interpretation

21      services when needed.

22      Q.   How long have you been working for the FBI?

23      A.   Five years and five months.

24      Q.   And have you been doing this type of work for the FBI

25      the entire time?



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 1      A.     Yes.

 2      Q.     And are you one of the supervisors in that unit of the

 3      FBI?

 4      A.     No, I am not.

 5      Q.     What is your position?

 6      A.     My position, as I said, is language analyst and I am one

 7      of the linguists who work at the Language Services section

 8      of the FBI.

 9      Q.     Does your job entail reviewing the work of other

10      translators?

11      A.     Yeah.   I have -- I am a qualified quality control

12      reviewer within Language Services, so I review other

13      linguists' translation, yes.

14      Q.     To make sure they have done it right?

15      A.     To make sure they are accurate and well written.

16      Q.     I would like to get a little background on you.           Were

17      you born in Somalia?

18      A.     Yes.

19      Q.     And did you ever do any translation work there?

20      A.     Yes.    I used to work for an Italian construction company

21      before I left the country and among my duties was

22      interpreting for their foreign employees.

23      Q.     And after that job did you take on another job in

24      another country?

25      A.     Yes.    When I left Somalia I went to Sweden, where I used



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 1      to work as a Somali interpreter for the Swedish immigration

 2      authorities.

 3      Q.   And then you came to the United States in what year?

 4      A.   I came to the United States in 1995.

 5      Q.   And did you have a job between then and before going to

 6      work for the FBI?

 7      A.   Yeah.   I was an accountant for MCI that later became

 8      Verizon.

 9      Q.   The telephone company?

10      A.   Telephone company, yes.

11      Q.   Now, in addition to English and Somali, do you speak any

12      other languages?

13      A.   As I say, I speak Swedish.       Those are -- I mean, Somali,

14      English, Italian, and Swedish are my -- the languages that I

15      speak fluently.

16      Q.   And are there some other languages where you speak it,

17      but maybe not --

18      A.   I speak a little Spanish, a little French.         And since I

19      speak Swedish, I can understand Norwegian and Danish as well

20      because they are very similar.

21      Q.   Tell us a little bit about your educational background.

22      A.   Yeah.   I went to Italian school.      I started in Somalia,

23      but when I was in third grade elementary school I was sent

24      by my family to a boarding school in Italy, in Tuscany, and

25      I completed my studies in Italy.



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 1      Q.   Did you get a college degree in Italy?

 2      A.   Yeah, a B.A. in economics.

 3      Q.   And have you had any specialized training in the area of

 4      linguistics?

 5      A.   Yeah.   I mean, for all the time I was working as a

 6      linguist I have been going to several linguist trainings.

 7      Q.   And have you received any certification from the FBI?

 8      A.   I have received certification from the FBI.         When I

 9      started my job I had to go to initial linguist training for

10      FBI and I got a certification.       And then when I became a

11      quality control reviewer I had to go to a specialized

12      training and I received a certificate for that.

13      Q.   When we talk about linguistics, does that mean just

14      simply translating one word from one language into another

15      or is there more to it than that?

16      A.   Actually, the duty of an FBI linguist is more than that.

17      My job description is language analyst.         We don't do just

18      merely translation from Somali to English, but we are expert

19      in the culture and the country and the custom of Somalia as

20      well.

21      Q.   And have you worked on -- your involvement in this case

22      was with respect to the wiretap that was used; is that

23      right?

24      A.   Yes.

25      Q.   We'll get to that in a minute.       But prior to this case



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 1      had you worked on any other wiretap cases involving the

 2      Somali language?

 3      A.   Yes.

 4      Q.   Any idea how many?

 5      A.   Many.   I cannot recall the exact number right now, but

 6      that's all I do most of the time.

 7      Q.   Now, this unit of the FBI that you work for is called

 8      Language Services?

 9      A.   It's a section within the Directorate of Intelligence

10      and it's called Language Services.

11      Q.   And does that section include -- employ people who speak

12      many different languages?

13      A.   Yes.    I think we have, like, probably more than 100

14      different languages.

15      Q.   Now, I want to focus with you a little bit on the Somali

16      language because hopefully we will be getting soon to some

17      transcripts.

18                   Are there some peculiarities in Somali with

19      respect to spelling and certain letters that do or do not

20      appear in the Somali language?

21      A.   Yes.    Although the Somali language has adopted the Latin

22      alphabet, there are some letters that are designated for

23      certain sounds that, for example, are not in the English

24      language.

25      Q.   Can you give some examples.



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 1      A.   For example, the sound "ha" in like Haji is designated

 2      with the letter X of the English alphabet.

 3      Q.   So sometimes we might see the word "Hassan" spelled

 4      beginning with an X?

 5      A.   With an X, yeah, that's an example.

 6                   And then you have like the sound "au," that's a C.

 7      Like in my last name, Abdurahman, it starts with a C.            So

 8      it's like a silent letter if you want to consider it so.

 9      Q.   Okay.    Any other particularities of the language?

10      A.   I mean, the language is fundamentally different from

11      English.     So, I mean, for example, the construction of the

12      sentence is completely different from --

13                   THE COURT:   Sir, you are going to have to pull

14      that microphone a little bit closer to you.

15                   THE WITNESS:   (Indicating.)

16                   THE COURT:   Thank you.

17                   THE WITNESS:   As I was saying, like, for example,

18      in English a simple sentence would be I eat breakfast.            In

19      Somali there's no order.       You can put the subject in the

20      middle or the end or the beginning.        And of course the verb

21      is the same thing.      So it's very difficult especially when

22      interpreting to render, like, you know, a simple,

23      understandable sentence in English.        So it requires a lot of

24      knowledge to do that.

25      BY MR. PAULSEN:



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 1      Q.   Are there different dialects in the Somali language?

 2      A.   There are slight differences, like regional differences,

 3      but the main difference maybe is that the Maay dialect,

 4      which is spoken in the Bay and Bakool and south Shabelle

 5      regions, is kind of a little different from the Maxaa Tiri

 6      dialect, which is spoken by most Somalis and that is

 7      considered standard Somali.

 8      Q.   Were there any dialect issues in this case, this

 9      wiretap, that caused any problems?

10      A.   No.

11      Q.   So this case did involve a court-ordered wiretap; is

12      that right?

13      A.   That's my understanding.

14      Q.   And it began in about September of 2008?

15      A.   I'm not sure of the date.

16      Q.   What was your role with respect to the wiretap?

17      A.   Actually my role started not at the beginning of this

18      case.    Practically I came in as a quality control reviewer,

19      as I say, to review what has already been done.

20      Q.   Tell us about in general how this, when a Somali wiretap

21      is being run by the Department of Justice -- you've been

22      involved in many of these, you said?

23      A.   Yeah.    I mean, I can tell you our part in the -- we come

24      in the morning into the office and we have been assigned to

25      a certain case or cases and we have them in the system.          I



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 1      mean, we come in and log in and we pull our cases and we

 2      have all this audio and we listen to all of them and

 3      interpret them.

 4      Q.   Let me make it more general.       When the Department of

 5      Justice is running a wiretap that involves speakers of

 6      Somali, what role does Language Services have with respect

 7      to running that wiretap?

 8      A.   Language Services have the role of monitoring these

 9      calls, translating them when necessary, but in most cases, I

10      mean, a call could be like, you know, social in nature and

11      then all we do is we put a comment describing what the call

12      was about.

13      Q.   So when a Somali wiretap is being run, is somebody from

14      Language Services kind of assigned to that particular

15      wiretap?

16      A.   Yes.

17      Q.   And at what level is that person?        Is that you typically

18      or someone that you review later on?

19      A.   It can be me.    It can be someone else who will

20      eventually review.

21      Q.   And so that -- just tell us, just give the jury an idea

22      of how the calls come in.       Once a wiretap is put on

23      someone's phone, how physically do the calls come in?

24      A.   I mean, as I say, we log into the system and the calls

25      are in our system.      I don't know the technical part of it,



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 1      but they are available to us for listening and translating

 2      on a daily basis.

 3      Q.   So the calls get downloaded into a computer?

 4      A.   Yeah.

 5      Q.   All right.    And are they listened to in real time?

 6      A.   No.    I mean, we mostly listen to -- I mean, the goal is

 7      to listen to the calls within 24 or maximum 48 hours time

 8      frame.

 9      Q.   So all the calls are recorded and loaded into the

10      database?

11      A.   Yes, they are loaded into the database in the evening.

12      When we come in in the morning they are there.          I mean, we

13      try to, you know, translate them on a daily basis.

14      Sometimes the volume is too much and we fall behind.             But we

15      never get the call, I mean, immediately while the call is

16      happening, no.

17      Q.   No one is listening in in real time, then?

18      A.   No, no.

19      Q.   But within a day or so, pressure of the work permitting,

20      someone sits down and translates the calls that have come in

21      in the last 24 hours or so?

22      A.   Yes.

23      Q.   And at that point is it a verbatim translation that's

24      made or not?

25      A.   As I say, most calls are -- I mean, the linguists mostly



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 1      write a comment describing what the call was about.              And of

 2      course we have requirements that we are looking for and if

 3      we think the call is pertinent, then we write either a

 4      summary translation summarizing the call or a verbatim

 5      translation if the call is very pertinent.

 6      Q.   When you say "pertinent," the people that are reviewing

 7      these calls, have they been given a briefing on what the

 8      case is about and what to look for?

 9      A.   Yes.

10      Q.   And so when they review them and they find one that's

11      pertinent, that would mean what?

12      A.   Then we will write a translation, either summary

13      translation or verbatim translation, of the entire call.

14      Q.   And that's done because "pertinent" means that the call

15      is relevant to the investigation?

16      A.   Relevant to the investigation.

17      Q.   Are there times when there are calls that aren't

18      pertinent to the investigation at all?

19      A.   Yes.

20      Q.   And with respect to the pertinent ones, the first thing

21      that's written about the pertinent ones would be what

22      typically?

23      A.   It typically would be a summary about, like, the

24      important part of the conversation.

25      Q.   And so no one is trying to do a verbatim translation at



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 1      that point?

 2      A.   No.    Initially it's mostly a summary translation.

 3      Q.   And why is that?

 4      A.   First is, like, time constraint.       There's no time to --

 5      I mean, we have to go through a huge amount of material.

 6      And secondly, it's not practically our job to know exactly

 7      which one needs to be translated verbatim.

 8      Q.   So if you --

 9      A.   It will happen in the second stage.

10      Q.   Second stage, let's talk about the second stage.            After

11      the people listening to the calls shortly after they come in

12      have reviewed them and identified pertinent -- what they

13      think might be pertinent ones, what's the next step?

14      A.   Next step, as I say, we write a summary and the summary

15      will be available for the case agent to review.

16      Q.   And the case agents in this case were the FBI agents in

17      Rochester, Minnesota?

18      A.   Yes.

19      Q.   So you would forward that information to Mike Wilson and

20      Kevin McGrane in Rochester?

21      A.   Not personally, I don't do it personally.         The system

22      take care of the forwarding.       And of course I have contact

23      with Mr. Wilson.     I mean, if he needs clarification,

24      explanation, we are in contact.

25      Q.   So then what happens if a case is going to court, as



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 1      this case is in court, what happens with respect to these

 2      calls that have been identified as pertinent?

 3      A.   We receive -- we, as Language Services, receive an

 4      assignment to do certain numbers of verbatim translations.

 5      Q.   Now, how does a verbatim differ from the summaries

 6      you've described?

 7      A.   Because a verbatim translation is a translation of

 8      everything that is being said in the call while a summary is

 9      a summary of the linguist -- of the content of the

10      conversation.

11      Q.   Now, we've prepared books, binders, of English

12      translations of calls.      There's over 150 in this book.       How

13      many people, to your knowledge, were involved in translating

14      those calls into the written transcripts that we have here?

15      A.   Five, including me.

16      Q.   And take us through the process of how these transcripts

17      are reviewed before they are used here in court.

18      A.   Okay.   When we receive the assignment to do a verbatim

19      translation, it will be released from the FBI that it will

20      be most likely coming to court.        An initial linguist is

21      assigned to do the translation.        Another linguist will do a

22      peer review, so there is two people checking what's been

23      said and the translation is accurate.         And finally, a

24      quality control reviewer will review the same translation a

25      third time and make sure everything is accurate and it's a



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 1      good translation.

 2      Q.   And were you the quality control reviewer on the calls

 3      that are involved in this case?

 4      A.   Yes, I was.

 5      Q.   And did you personally review all of the calls for which

 6      we have transcripts in this binder?

 7      A.   Yes, I did.

 8      Q.   And tell us what that involved.

 9      A.   I don't understand the question.

10      Q.   Well, did you listen to the calls?

11      A.   Yes, of course.     To review a translation for accuracy I

12      have to go back and listen to the entire call with the

13      translation provided to me and make sure that everything is

14      accurate and everything is --

15                  COURT REPORTER:     You're dropping your voice a

16      little bit.

17                  THE WITNESS:    I'm sorry.    Yeah, I listen to the

18      call with the provided verbatim translation and make sure

19      it's accurate.

20      BY MR. PAULSEN:

21      Q.   And with respect to the transcripts in this book here,

22      about how many times have you listened to each call and

23      compared the call to the contents of the transcript?

24      A.   I listened to the audios and reviewed the translation

25      three times, sometimes four for some of them.



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 1      Q.   And based on your review and your quality control, what

 2      is your opinion about the accuracy of the translations in

 3      this binder?

 4      A.   To the best of my knowledge, those are an accurate

 5      translation of the audio I reviewed.

 6                  MR. PAULSEN:    At this time, Your Honor, I would

 7      like permission to distribute the binders to the jurors.

 8                  THE COURT:    You may.

 9                  MR. PAULSEN:    So the record is clear, Your Honor,

10      each one has a number on it and I don't know if the numbers

11      will conform to the jurors' original numbers, but we will

12      pass them out 1 through 16 so that they can take note of

13      their number and they can always get their book back.            So

14      why don't we go 1 through 8 here and 9 through 16 in the

15      front.

16           (Pause.)

17                  MR. PAULSEN:    And does the Court have copies?           If

18      not, we do have copies for the Court.

19                  THE COURT:    150?

20                  MR. PAULSEN:    Plus a couple more in the 200s at

21      the back.

22                  THE COURT:    264.   Yeah, I've got it.

23      BY MR. PAULSEN:

24      Q.   Before we get into the transcripts, I want to ask you a

25      little bit about some abbreviations that may be seen in



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 1      there.

 2                    Occasionally there will be a sentence and then

 3      there will be a bracket and the letters "OV" will appear.

 4      What does that mean?

 5      A.   "OV" stands for overlapping voices.        That's when a

 6      person is speaking and the other person speak back without

 7      waiting for the person to finish.        So you have, like,

 8      overlapping voices from both sides.

 9      Q.   And similarly, sometimes there will be a bracket with

10      "SC"?

11      A.   "SC" stands for simultaneous conversations.

12      Q.   Two people talking at the same time?

13      A.   It's practically I am on the phone talking to you and

14      then I talk to somebody who may be standing next to me.          So

15      I have a simultaneous conversation with somebody else while

16      I am with you on the phone.

17      Q.   Oh.    So when someone is talking in the background to

18      somebody --

19      A.   Yes.

20      Q.   -- rather than talking to the person on the phone?

21      A.   Right.

22      Q.   "IA"?

23      A.   "IA" stands for inaudible.

24      Q.   Just can't hear what they are saying?

25      A.   Just can't hear.



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 1      Q.    "UI"?

 2      A.    "UI," unintelligible.     You can hear, but you cannot make

 3      out what's being said.

 4      Q.    Sometimes we'll see in here that certain text is

 5      underlined.      Why would that be?

 6      A.    The underline is to denote that a secondary language was

 7      used.    In our case here it's Arabic.      So underline means it

 8      was not Somali, but Arabic that was spoken.

 9      Q.    And it was translated into English, but you underlined

10      it?

11      A.    Underline to indicate this is a secondary language.

12      Q.    And sometimes there will be a word or more in italics.

13      A.    And that is a tertiary language and usually it's

14      English.      The person say the word or sentence in English.

15      Then to indicate that we use the italic font.

16      Q.    And then occasionally we will see in some of these

17      transcripts the initials "PBUH."

18      A.    That is the abbreviation for peace be upon you that a

19      Muslim express when -- after saying the name of the Prophet

20      Muhammad.

21      Q.    Now, in the transcripts there will be names that are

22      used.    For example, there will be a transcript that says

23      that Amina Ali is talking to, for example, Hawo Hassan.

24      What can you tell us about the use of names in these

25      transcripts and how those were derived?



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 1      A.   Okay.   In some cases the system will give you the phone

 2      that called in or has been called out and it will give you

 3      the name of the subscriber of that phone number.          That's

 4      like the best scenario.      But it doesn't always happen.

 5      Sometimes the speaker will identify the person by name, so

 6      that's another way to identify the name.

 7                   And, of course, with time by listening to the

 8      subject every day eight to ten hours a day for, like,

 9      months, you come to recognize the voices of the people who

10      mostly are in those conversations.

11      Q.   So did you come to recognize Amina Ali's voice?

12      A.   Yes.

13      Q.   And Hawo Hassan's voice?

14      A.   Yes.

15      Q.   And occasionally in these transcripts there will be no

16      name, but it will say "UM" for unknown male or "UF" for

17      unknown female.     Why would that be?

18      A.   That's when we don't have any way to identify the person

19      or we are not sure 100 percent of the identity of the

20      person.

21      Q.   So in order to put the name in the transcript, you have

22      to be 100 percent sure that that is the person, the name of

23      the person speaking?

24      A.   Yes.

25      Q.   We will see in these transcripts Hawo Hassan sometimes



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 1      going by either the first name Hawo or Halima or Halimo.

 2      Can you talk about that a little bit.

 3      A.   I mean, as I say -- do you mean that -- again, I'm

 4      sorry, repeat the question, please.

 5      Q.   Based on your review of the calls, when people talk to

 6      Hawo Hassan do they sometimes call her by the nickname

 7      Halima or Halimo?

 8      A.   Oh, yeah, yeah.     It happens, yeah.

 9      Q.   We will see in these transcripts that they have the date

10      of the call and the time of the call and the time is

11      represented in military time.       So instead of saying, you

12      know, 2:00 p.m., it will say 14:00 to equate to 2:00 p.m.,

13      but then it will say "UTC" following the time.          What is UTC?

14      A.   That's the time, Universal -- I'm not sure I remember

15      the acronym, but it stands for the time, the Greenwich Mean

16      Time, because that's like a common -- I mean, it's just to

17      have it, what do you say --

18      Q.   Standardized?

19      A.   Standard time, yeah.

20      Q.   So if we wanted to determine what time it was in

21      Minnesota, we would have to deduct a certain number of hours

22      from the --

23      A.   Greenwich.

24      Q.   -- universal Greenwich Mean Time?

25      A.   Um-hmm.



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 1      Q.   Now, there are going to be some terms that come up

 2      repeatedly in these transcripts that may relate to this case

 3      and I want to ask you about them right now.

 4                  Based on your expertise in this area, the term

 5      "jihad," j-i-h-a-d, what does that mean to you?

 6      A.   "Jihad" is an Arabic word and in Islam it means

 7      struggle.    So, I mean, to me personally it means struggle in

 8      general, mostly spiritual struggle within yourself.

 9      Q.   And how is it used in these calls?

10      A.   In these calls, to my understanding, it is used as a

11      struggle, as a fight against an enemy.         And actually that's

12      the case in Islam too, struggle can be internal, but it can

13      be fighting an enemy as well.

14      Q.   And the term "mujahidin," m-u-j-a-h --

15      A.   Mujahidin -- I'm sorry.

16      Q.   Let me spell it.     M-u-j-a-h-i-d-i-n.

17      A.   Mujahidin, yeah.

18      Q.   What does that mean?

19      A.   "Mujahidin" is the fighter who is fighting for jihad.

20      Q.   Does the term "al-Shabaab" come up in these transcripts

21      that you reviewed?

22      A.   Yes, it does.

23      Q.   And do you know what al-Shabaab is?

24      A.   "Al-Shabaab" is the Arabic word for "the youth."

25      Q.   Let's talk about that.      Are you aware of the



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 1      organization known as al-Shabaab?

 2      A.   Yes, I am.

 3      Q.   And is there -- in these calls are there more than one

 4      way that --

 5                   MR. SCOTT:   Hold it just a minute.      Electronic

 6      problem.

 7           (Pause.)

 8                   MR. SCOTT:   Okay.

 9      BY MR. PAULSEN:

10      Q.   In the calls that you reviewed are there more than one

11      way in which the speakers refer to al-Shabaab?

12      A.   Yes.

13      Q.   Can you give us some examples.

14      A.   Yeah.    I mean, it can be referred, as you said, as

15      al-Shabaab or the Somali word for al-Shabaab can be used,

16      which is dhallinyarada.      It means "the youth" as well.

17      Q.   Let's take those one at a time.       In the transcripts if

18      it says in the transcript the word "al-Shabaab,"

19      a-l-s-h-a-b-a-a-b, what does that mean the speaker said?

20                   MR. SCOTT:   I am going to object as to what it

21      means the speaker said, Your Honor.

22                   THE COURT:   Sustained.

23      BY MR. PAULSEN:

24      Q.   If it says in the transcript "al-Shabaab," what word did

25      the speaker speak?



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 1      A.   I mean, it's an Arabic word and translated in English

 2      means the youth.

 3      Q.   But if the word is in the transcript written out as

 4      al-Shabaab, is that the word that the person used,

 5      "al-Shabaab"?

 6      A.   Yes.

 7      Q.   All right.    So just like I'm talking to you, al-Shabaab,

 8      you would quote them in the transcript as using the word

 9      "al-Shabaab"?

10      A.   Yes.

11      Q.   Now, you said there's another way of referring to

12      al-Shabaab known as the youth?

13      A.   Yes.

14      Q.   And you said there's a Somali word for "the youth"?

15      A.   Yes.

16      Q.   And what is that word again?

17      A.   Dhallinyarada.

18      Q.   Can you spell that.

19      A.   D-h-a-l-l-i-n-y-a-r-a-d-a.

20      Q.   And what does that word mean?

21      A.   "The youth" in English.

22      Q.   And if that word is spoken by someone on these calls,

23      how does that word appear in the transcript?

24      A.   We translate that word -- it might be intended two

25      different ways.     It might be intended as the youth which is



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 1      the organization al-Shabaab or it might mean the youth as

 2      youngster, young people.       So it can mean both, it can be

 3      translated in both ways.

 4      Q.   So it can refer to the person's age --

 5      A.   Yeah.

 6      Q.   -- or it could --

 7      A.   A group of people.     The word itself is plural.       It's,

 8      what do you call it, a collective word.         So it's not single,

 9      it's not one youth, but many young men of age.

10      Q.   But it can also refer to the organization al-Shabaab?

11      A.   Yes.

12      Q.   And was one of your jobs to go through these transcripts

13      and determine from the context and everything else whether

14      when that word is used it meant a reference to age or a

15      reference to al-Shabaab?

16      A.   Yes.

17      Q.   And did you do that?

18      A.   Yes, to the best of my knowledge.

19      Q.   And have you done it again in preparation for trial?

20      A.   Yes.

21                   MR. PAULSEN:   At this time, Your Honor, I would

22      like to offer some calls and the accompanying transcripts

23      that will hopefully illustrate some of the things he's been

24      talking about.     The first ones would be Exhibits 13, 35, 49,

25      and 52.



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 1                  MR. SCOTT:    Foundation objection, Your Honor.

 2                  THE COURT:    Sustained.    Can you lay some

 3      foundation or have you stipulated to these at all?

 4                  MR. SCOTT:    Well, this isn't -- we are missing a

 5      lot of foundation in terms of getting it in.          So far we've

 6      just got transcripts.      We don't have the calls.      The

 7      accuracy --

 8                  MR. PAULSEN:    Well --

 9                  MR. SCOTT:    -- of the transcripts is not an issue,

10      Your Honor.

11                  THE COURT:    Go ahead.

12                  MR. PAULSEN:    May I proceed?

13                  THE COURT:    You may.    Objection overruled.

14      Continue.

15                  MR. PAULSEN:    The first call we would like to play

16      is number 13.

17           (Audio recording played.)

18                  MR. PAULSEN:    Wait just a second.      I assume, Your

19      Honor, the jurors should --

20                  THE COURT:    Yes, turn to transcript number 13,

21      please.

22                  MR. PAULSEN:    I assume you are going to want them

23      not to read ahead?

24                  THE COURT:    Yes.   Members of the Jury, you've got

25      a book of transcripts and it's very important that you



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 1      follow the transcript that we are hearing in court and not

 2      to read ahead and try to figure out things beforehand.

 3      Everything is in sequence.       The way the government is going

 4      to present its case, it is going to be told to you in a

 5      certain way.     I need you to follow along so there's no

 6      confusion on what is being heard and what is being

 7      translated.

 8                  So turn to transcript number 13 and we will hear

 9      the tape of that transcript.

10                  MR. PAULSEN:    May I approach to present a binder

11      to the witness?

12                  THE COURT:    Yes.

13      BY MR. PAULSEN:

14      Q.   According to the transcript, this call was recorded on

15      October 13, 2008 at 22:09 UTC, that would be 10:09 p.m. UTC,

16      and it's between Hawo Hassan, also known as Halima Hassan,

17      and Amina Ali, correct?

18      A.   Yes.

19           (Audio recording played.)

20      Q.   I want to direct your attention back to page 1.             The

21      first time Halima or Hawo Hassan identified in the

22      transcript as Halima speaks, she says, "Oh my God.           Right

23      now, Al Shabab are better.       The Courts became worthless."

24                  So is this an instance where because "Al Shabab"

25      is in the transcript, that was the literal word that



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 1      Halima/Hawo Hassan used?

 2      A.   Yes.

 3      Q.   And the reference to "the Courts," do you know what the

 4      Courts are?

 5      A.   The Islamic Courts.

 6      Q.   What are the Islamic Courts?

 7      A.   The Islamic Courts are the religious Islamic Courts who

 8      at a certain point in the events taking place in Mogadishu

 9      revolted against the warlord and took control of Mogadishu

10      first and eventually most part of south Somalia.

11      Q.   Halima Hassan says, ..."Al Shabab are better.          The

12      Courts become worthless."       Further down she says, "Al Shabab

13      has stated their view and they made clear that they will

14      fight.    The problem is the Courts who keep on

15      flip-flopping --"

16                  So, again, where Hawo Hassan is quoted as saying

17      "Al Shabab," that's the word she used --

18      A.   Yes.

19      Q.   -- "al-Shabaab"?

20                  And then on the next page, so the record will

21      reflect it, there is a reference at the top, Hawo Hassan

22      tells Amina Ali that the Ethiopians were ambushed.

23                  And this call October 13, 2008, is that at a time

24      when the Ethiopian forces were in Somalia to help support

25      the Transitional Federal Government?



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 1                  MR. SCOTT:    Objection, Your Honor, hearsay and

 2      calls for knowledge of this witness that he has not been

 3      qualified for.

 4                  THE COURT:    Lay some foundation.

 5      BY MR. PAULSEN:

 6      Q.   Well, you testified before that part of your job as a

 7      linguist involves not only translation, but being informed

 8      on the culture and the political situation and so forth in

 9      Somalia?

10      A.   Yes.

11      Q.   And are you aware of what the political situation was in

12      terms of the fighting going on as of October of 2008?

13      A.   Yes.

14      Q.   Were the -- what about the Ethiopians?

15      A.   As I say, the Islamic Court took control of south

16      Somalia, but at a certain point the Transitional Federal

17      Government was elected in a convention in Kenya and they

18      didn't have the power to come to Somalia and do their job,

19      so Ethiopia helped them come to Mogadishu and took control

20      of the country by defeating the Islamic Court.

21      Q.   And were the Ethiopians and the TFG opposed by

22      al-Shabaab?

23      A.   Yes.   That's when al-Shabaab break off of the Islamic

24      Courts and swear to fight the Ethiopians until they left the

25      country.



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 1      Q.   And so in that context when Hawo Hassan tells Amina Ali

 2      the Ethiopians were ambushed, "they were ambushed while

 3      traveling through there and several of their vehicles were

 4      destroyed," and down at the bottom she says, "seven of them

 5      were killed in a place near the livestock market and the

 6      area near the spaghetti factory where an explosion

 7      occurred," to which Amina Ali responds, "May all die and

 8      vanish," that would be a reference to?

 9      A.   To the fighting between al-Shabaab and the Ethiopian

10      troops in Mogadishu, who were seen by all Somalis as

11      invaders.

12      Q.   Next one I want to draw your attention to is Exhibit 35.

13                  THE COURT:    All right.    Turn to 35, please.

14      BY MR. PAULSEN:

15      Q.   Exhibit 35 is a call on November 17, 2008 at 4:28 a.m.

16      UTC between Amina Ali and Hawo Hassan.

17                  MR. PAULSEN:    Go ahead and play number 35.

18           (Audio recording played.)

19      BY MR. PAULSEN:

20      Q.   All right.    At the beginning Amina Ali is talking about,

21      "When we were saying, 'Let us go door to door,'" she says,

22      "it was worth it."      And Halima/Hawo Hassan says, "May God

23      reward you for that.      But, sister, how much did you

24      receive?"

25                  Having listened to all these calls and reviewed



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 1      them, when they talk about going door-to-door, do you have

 2      an understanding what that involves?

 3                  MR. SCOTT:    I am going to object.      The words speak

 4      for themselves, Your Honor.       They don't need expert --

 5                  THE COURT:    Overruled.

 6      BY MR. PAULSEN:

 7      Q.   You may answer.

 8      A.   Yes.   They are going door-to-door raising money.

 9      Q.   All right.    And then we go over to the top of page 2.

10      The first time Amina Ali speaks she says, "We sent $1,000 to

11      the Al-Shabab."

12                  Again, because the word in the transcript is

13      "Al-Shabab," is that the actual word that Amina Ali spoke?

14      A.   Yes.

15      Q.   She goes on to say, "We sent $1,000 to a group of

16      wounded in Nairobi."      And then she continues, "There were

17      young men who had mental illness, were placed in a camp, and

18      to whom we sent six hundred."

19                  Now, this phrase "young men," tell us about that.

20      How do you interpret that?

21      A.   It was the same word that was used, "dhallinyarada," but

22      in this case it means, it was translated -- because in the

23      context she is describing young men who had a mental

24      illness, so in this context it's several young men, it's not

25      al-Shabaab.



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 1      Q.   So here "young men" would relate to age?

 2      A.   To age.

 3      Q.   Okay.

 4      A.   And the same word actually was used, "dhallinyarada."

 5      Q.   So that is an example where that same word can mean

 6      either age or something else?

 7      A.   Yes.

 8      Q.   Let's go to Number 49.

 9                   THE COURT:   Please turn to 49.

10      BY MR. PAULSEN:

11      Q.   This is a call on December 27, 2008 at 2:27 a.m. UTC

12      between again Hawo Hassan and Amina Ali, and this is the

13      first one we have had where there are multiple excerpts of

14      the same call.     I think when we get into this we'll see that

15      there's one excerpt that continues over to page 3 and then

16      that stops and then there's another excerpt that begins on

17      page 3, goes over to page 4, and then a new one starts on

18      page 4 and goes to page 5 and so forth.         I think there are

19      six different excerpts in this longer call; is that right?

20      Does that appear to be right?

21      A.   Yeah, I believe so.

22      Q.   We'll count them as we go.

23                   MR. PAULSEN:   We can play Number 49.

24           (Audio recording played.)

25      BY MR. PAULSEN:



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 1      Q.   That's just the first -- the end of the first excerpt.

 2      On the top of page 2 it says Hawo Hassan in a mimicking tone

 3      says, "'Well, I am from the government side.          Man, you are

 4      Al Shabab.'"

 5                   Are you familiar with this call?

 6      A.   Yeah.

 7      Q.   Can you tell us what is going on here just to kind of

 8      set the context.

 9      A.   The context is she's describing a Paltalk session she

10      participated in the previous night.

11      Q.   You said a Paltalk session?

12      A.   Yeah.

13      Q.   What is that?

14      A.   I guess it's -- again, it's a telephone conference where

15      people have access to -- if they know the number and they

16      have the PIN to access it, where people can talk and

17      exchange views.

18      Q.   All right.    So what's going on on the top of page 2?

19      A.   So she's describing what was said on Paltalk.

20      Q.   She said somebody came on?

21      A.   Somebody who was claiming to be from the government and

22      was telling somebody else you are al-Shabaab.

23      Q.   And, again, because it says, "Al Shabab," that would be

24      the word she used?

25      A.   Yes.



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 1      Q.   Down about just past the halfway mark she says, "That is

 2      when you..."     And then she says, "Oh my God -- what they

 3      sometimes put Al Shabab through!        Oh my God ..."    To which

 4      Amina Ali responds, "Tell them to go to hell."

 5                  "Al Shabab," that was the word that Hawo Hassan

 6      used there?

 7      A.   Yes.

 8      Q.   And then at the bottom Hawo Hassan is talking about four

 9      females.    "-- so everyone..."     She says, "'Al Shabab

10      praying, dignity ...'      you can't imagine how much praising

11      they received."     To which Amina Ali responds, "Go on.         How

12      wonderful!"    And Hawo Hassan responds, "I talked

13      relentlessly."

14                  What's your understanding of what she's saying

15      about al-Shabaab in that context?

16      A.   I mean, in that context it appears that four females

17      showed support to al-Shabaab and praise to al-Shabaab.

18      That's what I understand from the conversation.

19                  MR. PAULSEN:    Let's go to the second excerpt.

20           (Audio recording played.)

21      BY MR. PAULSEN:

22      Q.   In this one, the fifth time Hawo Hassan speaks she says,

23      "I spoke to them last night.       I spoke there the night before

24      last.    What do you think?     You can't imagine, how well I was

25      defending the Al Shabab men."



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 1                  And here's where we have italics for the first

 2      time under "you can't imagine."        Remind us what the italics

 3      mean again.

 4      A.   Yeah, English words were used.

 5      Q.   So this is Hawo Hassan telling Amina Ali, "You can't

 6      imagine, how well I was defending the Al Shabab men," right?

 7      A.   Yes.

 8      Q.   And, again, she used the word "Al Shabab" there?

 9      A.   Yes.

10                  MR. PAULSEN:    Go ahead and play number 3.

11           (Audio recording played.)

12                  MR. PAULSEN:    I don't have any questions about

13      that one.     Let's go to the fourth excerpt, which begins on

14      page 5, about a third of the way down.

15           (Audio recording played.)

16      BY MR. PAULSEN:

17      Q.   At the end of that fourth excerpt at the top of page 6

18      Hawo Hassan says, "Some say, 'We support Hassan Dahir!           Long

19      live Al Shabab!'     Every group posts something different, you

20      know?"

21                  Are you familiar with Hassan Dahir?

22      A.   Yes.

23      Q.   Who is -- what's his full name and who is he?

24      A.   Hassan Dahir Aweys.     He was the leader of -- he is the

25      leader of another Islamic group called Hizbul Islam.



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 1      Q.     Hizbul Islam?

 2      A.     Yeah.

 3                     MR. PAULSEN:    Let's play the fifth excerpt

 4      beginning near the top of page 6.

 5             (Audio recording played.)

 6      BY MR. PAULSEN:

 7      Q.     On this one, the fourth time Hawo Hassan speaks she says

 8      to Amina Ali, referring to some other girls, "I told them to

 9      log in and not to talk about anything other than Al Shabab."

10                     And is this in the context of that Paltalk

11      conference you were talking about?

12      A.     Yeah, I believe so.

13      Q.     And so, again, the word she used here was "al-Shabaab"?

14      A.     Yes.

15      Q.     And then there's a conversation between her and Amina

16      Ali.    A few lines down Hawo says, "She prayed for the

17      Al Shabab boys."       She goes on to say, "'We are their

18      mothers!       We are contented with them!'"

19                     Over on the top of page 7, the second time Hawo

20      Hassan speaks she says, "I said, 'These are our young sons;

21      we are their mothers.         They are very young and tiny

22      children; and yet God put our victory in their hands.'"           And

23      then at the end she says, "There you have it.          Everyone

24      defended the young boys."

25                     And in this context where she refers to "young



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 1      boys," do you have an opinion on the meaning of the word

 2      there?

 3      A.   My interpretation is the young boy who fights, the

 4      fighters.

 5                   MR. PAULSEN:   And then go to number 6.      The last

 6      excerpt begins on page -- the middle of page 7.

 7           (Audio recording played.)

 8      BY MR. PAULSEN:

 9      Q.   The second time Hawo Hassan speaks she says, "-- there

10      were a lot of Al Shabab in there and they were happy last

11      night."

12                   She used the word "al-Shabaab" and that's why it's

13      referred to that way in the transcript?

14      A.   Yes.

15                   MR. PAULSEN:   Now Number 52.

16                   THE COURT:   Please turn to 52.

17                   MS. GURSTELLE:    Objection, Your Honor, 802 on the

18      words of LNU.

19                   THE COURT:   Overruled.    Continue.

20      BY MR. PAULSEN:

21      Q.   This is a call on January 11, 2009 at 3:39 p.m. UTC

22      between Amina Ali and you have "Amina LNU."          What does "LNU"

23      stand for?

24      A.   Last name unknown.

25      Q.   So this is one of those times where you could not



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 1      positively identify the person other than by a first name?

 2      A.   Yes.

 3      Q.   And so to differentiate between Amina Ali and Amina LNU,

 4      for the unknown person you used "LNU"?

 5      A.   Yes.

 6                   MR. PAULSEN:   Please play 52.

 7           (Audio recording played.)

 8      BY MR. PAULSEN:

 9      Q.   The first thing I want to direct your attention to is on

10      page 1.     The fourth time Amina Ali speaks she tells the

11      other person, "This is Amina Adan," A-d-a-n, "sister."

12                   Does Amina Ali also go by that name?

13      A.   Yes.

14      Q.   And then over on page 3, the unknown person in the

15      middle of page 3 is telling Amina Ali that, "Fighting

16      occurred in Guriceel and 20 plus of the religious youth were

17      killed."

18           Amina responds, "Oh, my God."

19           The unknown person says, "We seek refuge to God; they

20      were massacred."

21           Amina Ali says, "Do you mean Al Shabab?         The youth?"

22                   So here we have those words side by side.           Can you

23      explain when it says, "Do you mean Al Shabab?" and then

24      question, "The youth?"      Explain that.

25      A.   Here both the Arabic word "Al Shabab" and the Somali



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 1      word "dhallinyarada" were used.

 2      Q.   So in this context the use of that Somali word --

 3      A.   For al-Shabaab.

 4      Q.   -- means al-Shabaab?

 5                   And is al-Shabaab an organization in this context?

 6      A.   Yeah.

 7      Q.   So, in your opinion, where the word "youth" appears in

 8      the transcript, should it be capitalized?

 9      A.   Yes.

10                   MR. PAULSEN:   May he have permission to make that

11      change in the transcript, Your Honor?

12                   THE COURT:   What page?

13                   MR. PAULSEN:   On page 3, five lines up from the

14      bottom.

15                   MR. SCOTT:   Your Honor, we will object to him

16      changing the transcript.       The transcript is the translation.

17      Capitalizing is his opinion.

18                   MS. GURSTELLE:    We join that objection, Your

19      Honor.

20                   THE COURT:   Are we talking about, "Do you mean

21      Al Shabab?    The youth?"

22                   MR. PAULSEN:   Yes.

23                   THE COURT:   It can be capitalized.

24      BY MR. PAULSEN:

25      Q.   Do you have a pen with you?



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 1      A.   Yes, I do.    Do you want me to --

 2      Q.   Why don't you capitalize the word "youth" there and put

 3      your initials by it.

 4      A.   (Indicating.)

 5      Q.   Now, three lines above the unknown person is saying,

 6      "Fighting occurred in Guriceel and 20 plus of the

 7      religious" --

 8                  THE COURT:    Before we go on, Members of the Jury,

 9      as you can see, translation takes many forms and everyone

10      will have an opportunity to examine this witness to see

11      whether or not the translation is accurate.

12                  You will be the final determiners of whether or

13      not -- what a word means.       So if you feel it is not "the

14      youth" capitalized, then it's not.        It will be for you to

15      decide.    Listen carefully to the examinations of the

16      attorneys and the explanation by the interpreters and you

17      will have to be the final determiner because you're the

18      finders of the fact.

19                  And as the lawyers have told you, much goes into

20      the translation of what's being given to you.          So pay close

21      attention and be very attentive to the examination of

22      both the -- by the government and the defense counsel on

23      these issues.

24      BY MR. PAULSEN:

25      Q.   Four lines above where we just were it said -- the



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 1      unknown person is saying, "Fighting occurred in Guriceel and

 2      20 plus of the religious youth were killed."

 3                   In this context the use of the word "youth" there

 4      in your opinion refers to what?

 5      A.     In this context -- the same word in Somali,

 6      "dhallinyarada," was used, but in this context it mean the

 7      religious young men.      That's why we used the -- not the

 8      capital, but the small case for "youth."

 9                   MR. PAULSEN:   Now, at this time I would like to

10      offer another batch of transcripts for the purpose of him --

11      I don't want to play them all at this point, Your Honor,

12      because it doesn't make sense to play them twice, but I

13      would like to introduce them so he can go to the points in

14      the transcripts where the word "youth" is used and give his

15      opinion on which meaning of the word is involved there.           And

16      the transcripts I would be offering at this time are 8, 10,

17      14, 18, 28, 42, 54, 65, 67, 70, 73, 81, 91, 103, 105, 115,

18      122, and 146.

19                   MS. GURSTELLE:    Objection, Your Honor, 106.       If he

20      is going to show the transcripts to the jury, we would like

21      the call played.

22                   THE COURT:   Turn on your microphone.

23                   MS. GURSTELLE:    Excuse me, sorry.     Objection on

24      106.    If we are going to be showing these pages to the jury,

25      we request that the calls be played.



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 1                  MR. SCOTT:    Your Honor, I object again on

 2      foundation.    The tapes are not in evidence at this point and

 3      the transcripts are going in evidence without the proper

 4      foundation and apparently they now want to have the calls

 5      read and drop the originals entirely.

 6                  THE COURT:    Well, Mr. Paulsen, the calls

 7      themselves are going to be introduced; is that correct?

 8                  MR. PAULSEN:    Your Honor, so the record is clear,

 9      I have already introduced, for example, Government

10      Exhibit 35.    That exhibit includes both the disk with the

11      audio on it and the English translation.

12                  THE COURT:    All right.

13                  MR. PAULSEN:    With respect to all of the exhibits

14      I just named, those calls eventually will be played, but I

15      don't want to have to play them twice.         I would like to have

16      this witness just go right to the part of the transcript

17      where the word "youth" or something similar appears and

18      indicate, for future reference, his interpretation of the

19      meaning of that word in that context.         The call will be

20      played later through another witness.

21                  THE COURT:    All right.    And what witness will that

22      be?   Do you know?

23                  MR. PAULSEN:    Probably in most cases Special Agent

24      Mike Wilson of the FBI.

25                  THE COURT:    All right.    Objections are overruled



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 1      and we will go through your presentation dealing with these

 2      with the presumption that these tapes will be played at some

 3      point during the course of the trial.              And if not, then I

 4      will hear motions from counsel dealing with that issue.

 5                  Now, let's take our morning break.            Let's take a

 6      15-minute break.     All rise.

 7           (Jury excused.)

 8                                     IN OPEN COURT

 9                               (JURY NOT PRESENT)

10                  THE COURT:    Mrs. Ali, because I am going to be

11      releasing you, you don't have to go back down to the holding

12      area.    You can -- if you promise to stay on this floor and

13      in this building and be back here at the appropriate times

14      until we get the appropriate equipment for your release.

15      Are you willing to do that?

16                  DEFENDANT ALI:      Okay.

17                  THE COURT:    So, Marshals, you don't have to take

18      her down.    She can -- she will reappear in 15 minutes.

19           (Recess taken at 11:03 a.m.)

20                                *     *   *   *      *

21           (11:27 a.m.)

22                                    IN OPEN COURT

23                                 (JURY PRESENT)

24                  THE COURT:    Continue.

25      BY MR. PAULSEN:



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 1      Q.   Before we go back to the transcripts, a couple of

 2      particularities of the Somali alphabet I wanted to highlight

 3      that we didn't cover before.

 4                   Is there a "C" followed by a slash that's involved

 5      in the alphabet?

 6      A.   Yeah, in certain cases when the name includes the name

 7      Abdi and something else and it's very long.          Like in my

 8      case, Abdurahman, it's usually shortened like C/rahman for

 9      Abdurahman.

10      Q.   So "C" and a slash just means Abdi, A-b-d-i?

11      A.   Yeah.

12                   THE COURT:   Excuse me for a second.      Members of

13      the Jury, when we go through these transcripts and you have

14      your book, you have your individual book, you can make notes

15      if you want.

16      BY MR. PAULSEN:

17      Q.   And is it common for people to shorten, say, the name

18      Abdurahman to C/rahman?

19      A.   Yes, very common.

20      Q.   Are some words sometimes spelled slightly differently?

21      Like your middle name Haji, could that have different

22      spellings?

23      A.   Yes.

24      Q.   What would that be due to?

25      A.   The reason can be traced to Somali is -- before Somali



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 1      was written, we're educated either in English or Italian or

 2      Arabic.    So, as you understand, the name Haji is spelled

 3      differently if you spell it in Italian or if you spell it in

 4      English.

 5      Q.   What would the variation be?

 6      A.   For example, I speak Italian and I used to spell my name

 7      H-a-g-i.    In Italian "Haji" is spelled that way.        But in

 8      English it wouldn't be "Hagi," "Haji" is spelled H-a-j-i.

 9      Q.   And is there sometimes the use of double vowels?

10      A.   That's another very common difference that you can see

11      in Somali writings.      That's because Somali has something

12      called long vowel.      That's just applied by using the same

13      vowel twice, like double a, double o.

14      Q.   Can you give an example.

15      A.   For example, as I just say, the Somali dialect Maay, it

16      has a double a.     It's just a long vowel.      So sometimes

17      people who are not highly educated might not spell correctly

18      and just use one "a" instead of two.

19      Q.   Now, turning to those exhibits that I just offered --

20                  MR. PAULSEN:    And, Your Honor, I am going to

21      withdraw 54 and 73.

22      BY MR. PAULSEN:

23      Q.   The first one we want to look at just for purposes of

24      focusing on the meaning of the word "youth" at this time is

25      Number 8.



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 1                   If we go to page 4, at the top of page 4 -- this

 2      is a call, by the way, between Hawo Hassan and Amina Ali on

 3      October 9, 2008.     At the top of page 4 Amina is saying to

 4      Hawo Hassan, "Sister, slacking off is not an option.             The

 5      people said ... First they said to me, 'Convey our regards

 6      to the young men.'"

 7                   Do you have an opinion on the meaning of "young

 8      men" in this context?

 9      A.   In this context it is the Youth, the group known as

10      al-Shabaab.

11      Q.   Okay.    We are going to go through these quickly because

12      these calls will be played through another witness later on.

13                   I want to jump to Number 10, Exhibit 10, a call on

14      October 12th between Hassan Afgoye, also known as Abu Ayman,

15      and Amina Ali.     And just to kind of set the stage here, do

16      you know who Hassan Afgoye was?

17      A.   Yes, I do.

18      Q.   Who is he?

19      A.   He is one of al-Shabaab leaders.

20      Q.   And if we go in Exhibit 10 to page 6 -- to kind of set

21      the stage here, is this a call relating to a clothing

22      shipment that Amina Ali was sending over to Somalia?

23      A.   Yes.

24      Q.   And near the bottom of page 6, the last time Amina Ali

25      speaks on the bottom of page 6 she says, "Yes, God willing.



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 1      So I will tell those people not to unpack the garments

 2      before that group comes.       So you, the youth, take a share as

 3      a collective group."

 4                  In this context what's your opinion of the meaning

 5      of the word "the youth"?

 6      A.   In this context it means al-Shabaab.

 7      Q.   Can you take your pen and capitalize it and put your

 8      initials.

 9      A.   (Indicating.)

10      Q.   And she is addressing Hassan Afgoye when she says, "So

11      you, the youth, take a share," of the clothing, "as a

12      collective group," correct?

13      A.   Yes.

14      Q.   Let's go to Number 11, which is a call between Amina Ali

15      and Bashir Gelle Farah on October 13, 2008.          I just want to

16      go right over to page 5.       There's several references to "the

17      youth" on page 5, or two references.

18                  The first one is about a third of the way down.

19      It would be the fourth time Amina Ali speaks on page 5.          She

20      says, "I also informed the youth that they must take

21      pictures of the garments they take."

22                  What's your opinion of the meaning of the word

23      "the youth" here?

24      A.   The organization known as al-Shabaab.

25      Q.   And then when she speaks one, two, three times later she



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 1      says, "They... in other words... The youth should come

 2      united as one group and take half."

 3                   Your opinion?

 4      A.   Again it means the organization al-Shabaab.

 5      Q.   Would you make the capitalization on that one two times.

 6      A.   Yeah.   (Indicating.)

 7      Q.   In the same transcript over on page 7, right in the

 8      middle of page 7 Amina says, "Yes.        So they should come

 9      and -- eh -- this group -- eh -- the youth --"

10                   In this context?

11      A.   Just a second, please.

12           (Pause.)

13      A.   Yeah, the group al-Shabaab again.

14      Q.   Make that capitalization.

15      A.   (Indicating.)

16      Q.   Then on page 8, at the top of page 8, the second time

17      Bashir speaks he says, "At this time, the youth themselves

18      are actually large in number.       We currently work with some

19      men who belong to the youth.       These men work on the website,

20      Al Khahaib and are also in charge of pictures related work.

21      So we will tell them.      We are planning to tell them to

22      create a committee that represents them; we will then ask

23      them to whom from the youth we should hand it over."

24                   Your opinion of the meaning of the word "youth"

25      here?



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 1      A.   Yes, meant as the group al-Shabaab again.

 2      Q.   Okay.   Please make those capitalizations.

 3      A.   (Indicating.)

 4      Q.   And then finally, on the top of page 9 Bashir says --

 5      and he's talking to Amina Ali.       He says, "No, we currently

 6      tasked Amina, you know?      The purpose is to avert any quarrel

 7      between them and the youth."

 8                   Your opinion of the meaning of the word "youth"

 9      here?

10      A.   Which page, please?

11      Q.   Top of page 9.

12      A.   Okay.   Again it's the organization known as al-Shabaab.

13      Q.   Okay.

14      A.   (Indicating.)

15      Q.   Then we go to Exhibit 14, a call on October 14, 2008

16      between Amina Ali and Abshir Ba'dle.        On page 2, the second

17      time Amina Ali speaks she says, "And God willing, I will

18      tell the youth.     It occurred to me that the men in the

19      jungle should have the jackets and the large shoes.              That is

20      why we included them in there."

21                   Your opinion of the meaning of the word "youth"

22      here?

23      A.   It's intended as the organization al-Shabaab again.

24      Q.   Okay.   If you would make that adjustment.

25      A.   (Indicating.)



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 1      Q.   And then if you go to Number 18, which is a call between

 2      Ise Mohamed Hersi, also known as Isse Kamboni, and Amina

 3      Ali, if we go over to page 4, just below the halfway point

 4      Amina first says, "Hum" and then the next time she speaks

 5      she says, "Actually, another sheikh is scheduled for

 6      tonight.    I don't know whether -- the young and you have

 7      united; isn't that true?"

 8           Isse Kamboni says, "We and who?"

 9           And Amina says, "The young."       And asks, "Or... are you

10      separate entities?"

11           Isse responds that, "There was never a total

12      unification.     But there was an agreement to jointly

13      administer Kismayo soon after we jointly captured that

14      city."

15                  What's your opinion of the meaning of the word

16      "the young" in this context?

17      A.   In this context it's intended as the organization

18      al-Shabaab.    The Youth, it should be the Youth.

19      Q.   Can you make that change in the two places.

20      A.   (Indicating.)

21      Q.   Then over on the top of page 5, the second time Isse

22      Kamboni speaks he asks Amina Ali, "Are you referring to the

23      Alshabab brothers?"

24                  And there he would have used the word

25      "al-Shabaab"?



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 1      A.   What page, please?     I'm sorry.

 2      Q.   I'm sorry.    The top of page 5, the second time Isse

 3      Kamboni speaks he says, "Are you referring to the Alshabab

 4      brothers?"

 5      A.   Um-hmm.

 6      Q.   Because the word "Alshabab" is there, that's the word he

 7      used?

 8      A.   Yes.

 9      Q.   All right.    And if we go down near the bottom of the

10      page, the second to the last time Isse Kamboni speaks he

11      says, "We are also currently negotiating to create a

12      complete merger between us, the Kambooni group, and them,

13      the young guys."

14                   In this context how do you interpret "the young

15      guys"?

16      A.   In this context I would interpret it the al-Shabaab

17      organization again.

18      Q.   Can you indicate that.

19      A.   (Indicating.)

20      Q.   Then we go over to page 7.       At the bottom of page 7, the

21      last time Amina Ali speaks on that page she's talking

22      about -- she says, "First, may God make it easy.          Unless I

23      organize the lecture another day, there have not been any

24      lectures for the last two months or so.         Anyway, a man who

25      is a member of the youth, is scheduled for tonight"...



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 1                   In this context how do you interpret the use of

 2      the word "the youth"?

 3      A.     I interpret it as the organization al-Shabaab again.

 4      (Indicating.)

 5      Q.     Go to Number 28.   This is a call on November 5, 2008

 6      between Hassan Afgoye, also known as Abu Ayman, and Amina

 7      Ali.    And if we go to page 10, just above the middle Amina

 8      Ali says, "Yes, it can be said so, but the people he

 9      collected the money from want roads to be built"...

10                   I am going to skip down a little bit to where we

11      get to the reference to "the young men."         She says,

12      "Besides, this man supports the jihad and always says,

13      'Those Young men...'      he was contacted many times by people

14      and he tells them, 'Those youth are the ones that are

15      hungry, and stand for the sake of God, so they should be

16      helped.'"

17                   The next time she speaks she says, "He said, 'The

18      men who are facing the bullets are the youth, the Islamic

19      courts are right, but the youth are the ones that are facing

20      the bullets.'"

21                   And then two times later when she speaks she again

22      references "the youth."

23                   What's your opinion about the meaning of the word

24      "the youth" and/or "the young men" used in this exchange?

25      A.     In all these cases you mention I believe it's intended



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 1      as the organization the Youth, meaning al-Shabaab.

 2      Q.   Okay.   Can you so indicate on the transcript.

 3      A.   (Indicating.)

 4      Q.   If we go to page 42 -- or Exhibit 42, a call on

 5      December 7, 2008 between Amina Ali and Hawo-Kiin Hassan

 6      Raage.

 7      A.   Which number, please?

 8      Q.   Exhibit 42.

 9      A.   42.

10      Q.   On page 2, the third time Amina Ali speaks she says,

11      "Okay sister, tell him also -- sister, tell him also about

12      the $300 that is being sent from Canada.         It is money

13      that -- I mean, uhm -- it is money that belongs to -- that

14      belongs to the youth."

15                   What's your opinion of the meaning of this one?

16      A.   The meaning and my interpretation is "the youth" is the

17      organization al-Shabaab.

18      Q.   If you would so indicate on the transcript.

19      A.   (Indicating.)

20      Q.   Then we go to Number 65, Exhibit 65.        This is a call on

21      January 31, 2009 between Amina Ali and Barre Ahmed Abdi.         On

22      page 3, right at the midpoint Amina Ali says, "So, who will

23      assist you with the distribution?        Who is working with you?"

24           Barre says, "The regional brothers."

25           Ali says, "Who do those regional brothers belong to?"



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 1           Barre says, "They are our group, the mujahidin."

 2           Amina says, "What?      Are they mixed or are they the youth

 3      only."

 4           Barre says, "They are the youth."

 5                  What's your opinion here?

 6      A.   In both cases my interpretation is "the youth" is the

 7      organization al-Shabaab.

 8      Q.   Would you so indicate on the transcript.

 9      A.   (Indicating.)

10      Q.   Exhibit 67 is the next one, a call on February 4, 2009

11      between Amina Ali and Hawo Hassan.        If you go over to

12      page 2, just below the midpoint on page 2 Amina says, "While

13      that was their name in the old days, Hassan Turki joined the

14      youth.    Do you hear me?"

15           Hawo Hassan says, "H-uhm."

16           Amina Ali says, "When he joined the youth others also

17      joined the agreement of the youth, but they posed a

18      difficult request and said, 'We don't want the name

19      Al-Shabab.'"

20                  What's your opinion here?

21      A.   Apparently they are speaking about "the youth" meaning

22      the organization al-Shabaab.

23      Q.   And then on the next page, page 3 --

24      A.   Just give me one second, please.

25      Q.   Yes.



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 1      A.   (Indicating.)

 2      Q.   The third time Amina Ali speaks on page 3 she says, "The

 3      Ras Kambooni name that you heard refers to both the youth

 4      and the Ras Kambooni groups."       To which Hawo Hassan says,

 5      "Sister, I know they are united."

 6                  And then down at the bottom of the page, the last

 7      time Amina Ali speaks she says, "Well, that is it then!          Ras

 8      Kambooni is comprised of the youth and other groups that had

 9      previously united."      Hawo Hassan says, "Okay.      That is what

10      we want."

11                  What's your opinion here?

12      A.   Yeah, in both cases it's meant the group al-Shabaab.

13      Q.   If you could so indicate.

14      A.   (Indicating.)

15      Q.   Exhibit 70 is a call on February 7, 2009 between Amina

16      Ali and Hawo Hassan which starts off with a conversation

17      about, "That guy, Sharif was bombarded today in Mogadishu."

18      And a few lines later Hawo Hassan says, "He was bombarded

19      inside the Presidential Palace."

20                  Do you know who Sharif is?

21      A.   The president of the Transitional Federal Government at

22      the present time, yeah.

23      Q.   And was there, in fact, a bombing of the presidential

24      palace about this time to your knowledge?

25      A.   Yes.   I read it in the Somali website and in the news



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 1      about Somali events.

 2      Q.   Over on page 2, halfway down Amina Ali says, "People who

 3      initially believed these people, the youth, were hard

 4      headed."

 5                   What's your interpretation of the meaning of "the

 6      youth" in this context?

 7      A.   My interpretation is "the youth" is the organization

 8      al-Shabaab.

 9      Q.   Please so indicate on the transcript.

10      A.   (Indicating.)

11      Q.   Next one is 81.     Exhibit 81 is a call on February 16,

12      2009 between Amina Ali and Hassan Afgoye.

13      A.   Excuse me.    Give me a minute, please --

14      Q.   Yes.

15      A.   -- to get the other binder.       I don't have an 81.

16      Q.   You have two binders while the rest of us have one.

17      A.   Yeah.    Oh, it's on the --

18      Q.   I think we are upside down maybe.

19      A.   I got it.    Thank you.    Continue, please.

20      Q.   Exhibit 81 on page 4, quickly, the first time Amina Ali

21      speaks in about the middle of that paragraph, fourth line of

22      her paragraph she says, ..."these people have convinced

23      themselves that the youth have pulled back from the rest and

24      isolated themselves."

25                   In the context of the entire call, which you have



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 1      reviewed, what's your opinion of the meaning of the word

 2      "youth" there?

 3      A.     In my opinion she is referring to the organization

 4      al-Shabaab.

 5      Q.     If you would so indicate on the transcript.

 6      A.     (Indicating.)

 7      Q.     Next one is Exhibit 91, a call on February 25, 2009

 8      between Hassan Afgoye and Amina Ali in which the word may be

 9      used in a different context.       Let's see.

10                     On page 2, the fourth time Hassan Afgoye speaks he

11      says, "Yesterday there was a big fight.         The men from Asmara

12      who call themselves Hizbul Islam started a large fight and

13      then our men joined in.      Afterwards the young men, who had

14      been misled into siding with Sharif, after witnessing the

15      Burundian bombardment said, 'We will side with our

16      brothers.'"

17                     That phrase "young men" that Hassan Afgoye uses

18      there, what's your view there?

19      A.     In my view is age related, meaning young men, younger

20      men.

21      Q.     So you don't make any change there, right?

22      A.     No.

23      Q.     Okay.   Go to 103, a call on March 12, 2009 between Amina

24      Ali and Hassan Afgoye.      If we go to page 6 -- we have to

25      start at the bottom of page 5.       Amina Ali says, "I will use



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 1      the names of Shamsa Ali Ahmed and Maryan Muuse, okay?            Don't

 2      be surprised if our financial relationship stops; just

 3      understand the reason.      In these days, what is going on in

 4      America is -- they reached a stage -- they have reached a

 5      stage where they ask people, 'Are you on Sharif's side?           Do

 6      you know any representative for the youth?'"

 7                  In this context what's your interpretation of her

 8      use of the word "the youth"?

 9      A.   My interpretation in this context is the group the

10      Youth, a/k/a al-Shabaab.       (Indicating.)

11      Q.   Next one is Exhibit 105, a call on March 18, 2009 again

12      between Amina Ali and Hassan Afgoye.        If we could go to

13      page 5, at the top -- Amina Ali says at the top of page 5,

14      "It is said it was all over and that he said, 'You support

15      the youth so get out and closed the place.'"          She goes on to

16      say, "He supports Sharif and they said 'the youth are on the

17      right path.'     They broke away and created their own place."

18                  What's your opinion in this context?

19      A.   "The youth" is meant as the group al-Shabaab.

20      Q.   If you would make that notation on the transcript.

21      A.   (Indicating.)

22      Q.   Then we go to 115, which is a call on April 3, 2009

23      between Amina Ali and Hawo Hassan.        If we go to page 2,

24      right in the middle Amina Ali is saying to Hawo Hassan, "We

25      are with the youth."



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 1           Hawo Hassan says, "Okay."

 2           Amina Ali says, "Do you understand?        The reason I am

 3      paying for all this expenses and I am conferencing this

 4      people is to let the people understand the truth."

 5           Hawo Hassan, "Okay."

 6           Amina Ali, "And there is no other reason that we side

 7      with the youth."

 8                  In your opinion, what is the meaning of the word

 9      "the youth" here?

10      A.   In both cases my opinion is that she's referring to the

11      group al-Shabaab.

12      Q.   If you would make that notation, please.

13      A.   (Indicating.)

14      Q.   Only two more.     If you go to 122, it's a call on

15      April 19, 2009 between Amina Ali and Mo'alin Burhan and on

16      page 1 at the bottom -- well, just kind of set the stage

17      here.    Is this man going to be a guest lecturer for one of

18      Amina Ali's teleconferences?

19      A.   Yeah, I believe so, if I remember correctly.

20      Q.   All right.    And at the bottom Amina says to

21      Mr. Burhan -- well, the second to the last time she speaks

22      she says, ..."you know, while you are pretending to be, you

23      know... eh... while pretending that you are not one of them

24      -- since they are the enemy and there are many, who are the

25      enemy, in the conference line -- do you understand?"



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 1           Burhan says, "Very much so."

 2           Amina Ali says, "That means, you are not going to state

 3      that you belong to the youth.       But, you will state that you

 4      are a Muslim brother and that the people, who belong to the

 5      youth or Hizbul-Islam, stand for justice.         You will talk

 6      about how good they are and how they help the people.             You

 7      will also talk about what makes the other people wrong --

 8      anyway, something along that line."

 9                  In this context where she's instructing Burhan not

10      to state that he belongs to the youth, what is your

11      interpretation of the meaning of the word "youth"?

12      A.   My interpretation is that she mean the group al-Shabaab

13      in both cases.

14      Q.   If you could so indicate on the transcript.

15      A.   (Indicating.)

16      Q.   And finally, Number 146, a call on July 2, 2009 between

17      Amina Ali and Hassan Afgoye.       If we go first to page 5, at

18      the bottom of page 5, the last time Amina Ali speaks, "Do

19      you understand?     These are strange people.      We have never

20      seen anything like this.       We have never seen this type of

21      people.    All of them, young or old, be it those who belong

22      to my clan and those who don't -- they all share the same

23      understanding.     They say, 'Do you see this woman?        She

24      belongs to the youth.      She is the one...'"

25                  What's your interpretation of her use of the word



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 1      "the youth" here?

 2      A.   "The youth" here is meant as the organization

 3      al-Shabaab.

 4      Q.   If you would so indicate.

 5      A.   (Indicating.)

 6      Q.   And the final one is on the top of page 7.         Amina Ali --

 7      it carries over from the bottom of page 6.         Amina Ali is

 8      speaking and, to get right to it, in the fourth line she

 9      says, "We have been collecting for them ever since.              Later

10      on we received word and we were told that these young men

11      should be isolated.      Do you understand?     We said to them,

12      'There won't be any isolating so get out of here.           We don't

13      accept it.'"

14                  In your opinion, what is her use of the word "the

15      young men" there referring to?

16      A.   In my opinion, it's referring to the group the Youth,

17      al-Shabaab.

18      Q.   If you would so indicate on the transcript.

19      A.   (Indicating.)

20                  MR. PAULSEN:    No further questions.

21                  THE COURT:    Mr. Scott.

22                  MR. SCOTT:    Thank you, Your Honor.

23                               CROSS EXAMINATION

24      BY MR. SCOTT:

25      Q.   Mr. Abdurahman, you said that you have been working for



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 1      the FBI for about five years and five months now?

 2      A.   Yes.

 3      Q.   So you started, then, in 2006 or 2005?

 4      A.   2005.

 5      Q.   2005?

 6      A.   Yeah.

 7      Q.   And the wiretap conversations that we're talking about

 8      here took place in 2008 and 2009.        So you had been at the

 9      FBI about three years at that point?

10      A.   Yeah, sounds right.

11      Q.   And you said that you went through some training when

12      you first started at the FBI, linguist training to get a

13      certification?

14      A.   Yes.

15      Q.   So you actually started translating for the FBI, then,

16      late 2005?

17      A.   And mid 2005.

18      Q.   Now, let me go backwards just a little bit because I was

19      working my way through your background.

20                   You were born in Somalia and you were raised in

21      Somalia until sometime in grade school?

22      A.   Yeah, third grade, elementary school.

23      Q.   And then you went to Italy?

24      A.   A boarding school.

25      Q.   And you finished grade school and high school, then, in



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 1      Italy?

 2      A.   High school, yes, and university.

 3      Q.   And then you went to the university after high school in

 4      Italy?

 5      A.   Yeah.

 6      Q.   So --

 7      A.   I'm sorry.    I started university in Italy.

 8      Q.   And so you returned, then, back to Somalia as an adult?

 9      A.   Yeah.

10      Q.   And you worked in Somalia, you said, for an Italian

11      construction company for some time period?

12      A.   That's correct.

13      Q.   About how long did you work for that Italian

14      construction company?

15      A.   Ten years.

16      Q.   Ten years.    And that was in Somalia?

17      A.   Yes.

18      Q.   And give us an idea when that ten-year period covered.

19      A.   1980 to late 1989.     About ten years, not exactly ten

20      years.

21      Q.   So you then left Somalia and went to Sweden before the

22      civil war resulted --

23      A.   When the --

24      Q.   -- and the fall of the Barre government?

25      A.   Yes.



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 1      Q.   And then you lived in Sweden for some time period as a

 2      Somali interpreter?

 3      A.   That's correct.

 4      Q.   And you came to the United States in 1995.         During that

 5      time period did you -- from late 1989 to 1995 did you travel

 6      back and forth to Somalia on a regular basis?

 7      A.   No, I never traveled to Somalia since I left.

 8      Q.   So that basically you have not been in Somalia since

 9      1989?

10      A.   That's correct.

11      Q.   You were explaining to us that the Somali language has

12      basically a fundamentally different syntax from the English

13      language?

14      A.   Yeah.

15      Q.   So that the English language generally runs subject,

16      verb, object?

17      A.   Yes.

18      Q.   And in the Somali language that's not necessarily so?

19      A.   The order of the word in the sentence doesn't matter.

20      Q.   And just like in Latin -- if you take Latin, the verb is

21      at the end and the subject and the object are in the middle

22      of the sentence.     In Somali the subject, the verb, and the

23      object can be in a different order?

24      A.   In any place in the sentence.

25      Q.   So when you're translating from the Somali language to



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 1      the English language, you are not just translating the

 2      words, you're changing them and putting them in an order

 3      that would fit in English?

 4      A.   Yes, of course.

 5      Q.   Otherwise you might sound like Yoda talking in English?

 6      A.   Exactly.    Let me just tell you the best practice for a

 7      good linguist is that the translation for a reader shouldn't

 8      even like -- shouldn't know that this has been translated

 9      from a foreign language.       That's the goal of a linguist.

10      Q.   So that you're making certain changes in interpretation

11      so that you are trying to get the meaning of the words

12      through rather than their order?

13      A.   That is not correct because you are not making changes

14      in the interpretation of the meaning.         You are conveying the

15      same meaning in another language.

16      Q.   So it's the same meaning even if the words are not in

17      the same order?

18      A.   Exactly.

19      Q.   And I take it as well if there is slang that you're

20      familiar with that means something different than what the

21      words are, will you translate, then, the slang into a

22      meaning -- words in English that provides the same meaning

23      even if it's different words?

24      A.   Not in a verbatim translation, but you would point out

25      that slang has been used, that it might mean something else.



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 1      Q.   And that's when you catch the slang.        Given your age,

 2      what teenagers are talking about now you would not

 3      necessarily recognize; would that be a fair statement?

 4      A.   Yeah.

 5      Q.   Now, you said that your job now is to translate

 6      wiretaps -- take the word "wiretaps" out -- translate

 7      conversations from Somali to English?

 8      A.   Exactly.

 9      Q.   And many of those come from wiretaps?

10      A.   Possibly, yes.

11      Q.   You get the conversations on the computer?

12      A.   Yes.

13      Q.   And so you log in and here's a set of conversations,

14      correct?

15      A.   Correct.

16      Q.   And you know when you log in that you're logging into a

17      particular investigation?

18      A.   Exactly.

19      Q.   And you don't actually -- you are not actually involved

20      in gathering the conversations in the first place, are you?

21      A.   No, I'm not involved in collecting the information, no.

22      Q.   So that the conversations can be coming in from

23      Los Angeles on one case, Minneapolis on another case, and

24      Paris on the third case, right?

25      A.   Yes.



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 1      Q.   You're also telling us that you don't get them in real

 2      time, you get a batch in when you come into the office in

 3      the morning and you work on that batch?

 4      A.   That's correct.

 5      Q.   And when you first get them, this batch of calls,

 6      somebody, it could be you that day, it could be somebody

 7      else, but somebody reads -- or listens to them for the first

 8      time and basically jots down a general description of the

 9      type of call it is?

10      A.   Pretty much so.

11      Q.   You know, Haji called the pizza parlor and ordered a

12      pizza, that's the summary you would have?

13      A.   Yeah.

14      Q.   And then whoever got that the first time would then ship

15      those summaries over to the FBI agents who were running --

16      or intercepting the calls, correct?

17      A.   Yeah.

18      Q.   They decide which ones they want you to actually

19      translate into English?

20      A.   It's in part true.     But we know what the investigation

21      is about in general, so sometimes we can decide to write

22      more on the session even before forwarding it to the agent.

23      And in other cases the agent will come back and say I want

24      to know more about this.

25      Q.   So, in other words, sometimes you'll translate part of



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 1      it when you send that first summary to the agent?

 2      A.   Yes.

 3      Q.   Now, when you get trained about a particular

 4      investigation, explain to me the training that you get for

 5      that particular investigation.       In other words, do you sit

 6      down prior to looking through a particular batch of calls

 7      and get briefed in advance by the agents as to what type of

 8      case it is and what you should be looking for?

 9      A.   I mean, in most cases that's the way it goes, we sit

10      with the agent and talk about the investigation and what the

11      investigation is about.      But then in other cases it doesn't

12      happen face-to-face, basically it might happen on the phone

13      or on an e-mail.

14      Q.   Now, you said that you identified the names that you put

15      on the transcripts, that you identified them in some cases

16      because the person identified themselves?

17      A.   Or Amina Ali --

18      Q.   Identified the person?

19      A.   -- identify them sometimes.

20      Q.   And sometimes you identified the calls because they were

21      a subscriber telephone?

22      A.   When the calls are domestic, then the system might give

23      us the phone number involved in the call and, of course, the

24      subscriber of that call.

25      Q.   So the analysis -- I am just going to take a



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 1      hypothetical here for just a moment.        But if what you get is

 2      somebody is talking to a person named Mary at telephone

 3      number 2176 and the FBI agent comes back and says that

 4      telephone goes to the residence of Bill and Mary Smith, then

 5      you will at least at the start identify that Mary is likely

 6      Mary Smith?

 7      A.   Yeah, but we have to be sure that it's really Mary Smith

 8      and not another Mary.      So what happens is we -- I mean, the

 9      linguist working the case listen to hundreds, sometimes

10      thousands, of conversation.       So practically the linguist

11      gets to know the people who call, like, often, on a regular

12      basis, and that's how the linguist is sure about the

13      identity of the person, because you recognize the voice and

14      the phone number can relate it to -- that person is the same

15      and that's the subscriber of the number usually.

16                  So, I mean, it's not one time or two times or a

17      guess, you know, just this number, the subscriber is Mary,

18      the person talking say she's Mary, that's not only it.             So

19      we have to make certain it is really this Mary who is on the

20      phone.    Otherwise we use "UF," unidentified female.            We have

21      to be 100 percent sure before we write a name in our

22      translations.

23      Q.   But you don't go and look up that subscriber

24      information, someone else does that for you; is that right?

25      A.   If the system doesn't automatically show us, then it's



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 1      the agent who find the information.

 2      Q.   So the identification is a combination of the agents

 3      giving you information and then you listening to the calls?

 4      A.   It's mostly about me listening to the call for three

 5      months eight or ten hours a day, hundreds of thousands of

 6      calls, and at the end I know the voices like --

 7      Q.   Well, you didn't necessarily listen to all of these

 8      calls for hundreds of thousands of hours, it was divided

 9      among five people; isn't that right?

10      A.   This particular -- no, but I listen to all of them since

11      I reviewed all of them for accuracy.

12      Q.   You reviewed --

13      A.   All of them.

14      Q.   -- the calls that are in evidence here?

15      A.   Yes.

16      Q.   Not all of the rest of the calls?

17      A.   And many others, yeah.

18      Q.   Now, do you use -- any time that we read in the

19      transcript the word "al-Shabaab," that's the actual word

20      that we would hear in the call, correct?

21      A.   Correct.

22      Q.   So we could hear, you know, d-d-d-d-d, al-Shabaab,

23      d-d-d-d, like that, if we were listening really closely,

24      correct?

25      A.   That's correct.



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 1      Q.   Okay.   Now, you said that the word -- or at least one of

 2      the words that you identified that refers to the youth is

 3      the word, and I am not going to be able to pronounce it

 4      correctly, but "dhallinyarada," whatever?

 5      A.   Dhallinyarada.

 6      Q.   Dhallinyarada.

 7      A.   That in Somali means the youth.

 8      Q.   And "the youth" is a generic term and it includes boys

 9      or young men, young women?

10      A.   It's exactly what English translated word means, the

11      youth.

12      Q.   And it is a generic word just like it is in English,

13      "youth"?

14      A.   Exactly.

15      Q.   And when you lived -- when you were a youth in Somalia,

16      it didn't mean you were al-Shabaab?

17      A.   Again --

18      Q.   When you were in second grade you were --

19      A.   Again --

20      Q.   -- you were a dhallinyarada, right?

21      A.   I'm sorry?

22      Q.   When you were in second grade you were a dhallinyarada,

23      that word, you were a youth?

24      A.   Yes.

25      Q.   Or part of the youth?



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 1      A.   (Nodding.)

 2      Q.   Now, I've noticed there's the word "young men."             That's

 3      a different word in Somali?

 4      A.   No.   It's the same.

 5      Q.   So why would you translate "young men" differently in

 6      your tapes if the same word is being used?

 7      A.   As I say, several linguists corroborated in this

 8      translation and that sometimes there is style differences in

 9      how they translate a certain word.

10      Q.   So it's dhallinyarada maybe when we see the word "youth"

11      -- and I am butchering the word -- and it's dhallinyarada

12      and sometimes we see "young men," it's dhallinyarada and

13      sometimes we see it translated as "young guys"?

14      A.   Yeah.

15      Q.   And that's just the style of the person who was doing

16      the verbatim transcript into English?

17      A.   Correct.

18      Q.   Now, what you were writing and what the jurors were

19      writing in there, those are spots where you were taking that

20      word "dhallinyarada" and you were saying that word as I read

21      it, I think they're talking about al-Shabaab even though

22      they didn't use the word "al-Shabaab"?

23      A.   They use the Somali word for al-Shabaab.

24      Q.   They use the Somali word --

25      A.   For al-Shabaab.



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 1      Q.   -- for youth?

 2      A.   The youth.

 3      Q.   "Young men," "young guys," a generic term, which you

 4      have interpreted -- I don't want to get into too much of a

 5      problem with you, but is that word -- like the word in

 6      English "youth" or like the word in English "young men" or

 7      like the word in English "young guys" doesn't translate to

 8      al-Shabaab except in context, right?

 9      A.   In our translation we didn't translate "dhallinyarada"

10      to "al-Shabaab" in English.       We translated it to "the youth"

11      with a capital Y.

12      Q.   But when you --

13      A.   In that context that word meant to us that they were

14      talking about an organization called the Youth and not young

15      people, young men in general.

16      Q.   In your --

17      A.   In my interpretation.

18      Q.   In your interpretation of what it meant?

19      A.   And the context of the sentence.

20      Q.   See, now we're working our way through it.         In other

21      words, what we're working our way through here is it is your

22      opinion that when they were using the word "youth" here or

23      "young guys" here or "young men," that they meant the same

24      as the word "al-Shabaab"?

25      A.   Excuse me, but it's not my opinion.        It's like, you



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 1      know, when you use the word in the context -- it can have

 2      two meaning.     The context will lead you to what the speaker

 3      of the sentence means when he uses that word.

 4                   Because the word "al-Shabaab" in Arabic is the

 5      same thing, it means the youth, but we know that in Somali

 6      this movement is called the dhallinyarada.         That's a fact.

 7      That's not my opinion.

 8      Q.   It's not your opinion?

 9      A.   It's not my opinion.

10      Q.   Because --

11      A.   Because --

12      Q.   -- you read it that way?

13      A.   Because it's called Xarakada Dhallinyarada Mujahidin.

14      This is the name of the organization in Somali.

15      Q.   The organizational name in Somali, if you look it up in

16      Somali on the website it will come out "dhallinyarada"?

17      A.   Yes.

18      Q.   They will literally write that word in there?

19      A.   Yes.

20      Q.   They will write in the Army of Despair; isn't that

21      another name they write in?

22      A.   Not to my knowledge.

23      Q.   Now, in Exhibit 49, and you don't have to turn to it,

24      you were reading the words about the religious men?

25      A.   Yeah.



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 1      Q.   And in that particular call the religious men, were they

 2      the Youth, were they al-Shabaab?

 3      A.   May I take a look at the --

 4      Q.   Sure.

 5      A.   -- translation, please?

 6                   You say 46?

 7      Q.   Wait a minute.     49.

 8      A.   What was the page, please?

 9      Q.   I can't tell you because I'm working from the earlier

10      one, but I would guess it's page 3.

11      A.   Yeah, page 3.

12      Q.   It says, "It is full of religious men.        There are

13      several hundred religious men in there."

14      A.   It says, "some who want the religious men."         Yes, I see

15      that.    And what was your question?

16      Q.   When we talk about religious men there, you're saying

17      that is not al-Shabaab, correct?

18      A.   Because they didn't use the word "dhallinyarada."

19      Q.   Okay.

20      A.   They used the word for religious man, which is

21      different.

22                   THE COURT:    All right.   Let's stop here.     We'll

23      recess until 1:45, 1:45.       All rise for the jury.

24           (Jury excused.)

25



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 1                                  IN OPEN COURT

 2                               (JURY NOT PRESENT)

 3                  THE COURT:    Mr. Scott, will you have your client

 4      come forward.     Would you have your client come to the

 5      podium.

 6                  MR. SCOTT:    Sure.

 7                  THE COURT:    We have the probation officer here

 8      with the monitoring equipment.          And do we have the order for

 9      me to sign?

10                  THE CLERK:    Yep.     I'll go grab it.

11                  THE COURT:    Once we get this taken care of, she

12      will be immediately released from the care of the marshals.

13      So she doesn't have to go back down unless she's got some --

14      does she have anything of personal effects?

15                  MR. SCOTT:    I will have to ask her, Your Honor.        I

16      know that her purse and things like that were left behind on

17      Monday.

18                  THE COURT:    All right.      The condition -- she's

19      been on release.     Those conditions are put back in place

20      plus the additional condition that she participate in global

21      positioning satellite location monitoring and abide by its

22      requirements as the United States Probation and Pretrial

23      Services Office or supervising officer instructs.           Is she

24      willing to do that?

25                  DEFENDANT ALI:       Yes.



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 1                  THE COURT:    All right.    We will recess until 1:45.

 2      She can go with the probation officer to a private location.

 3                  My understanding the prayers are at 1:10; is that

 4      right?

 5                  MR. KELLY:    1:10 are the prayers?

 6                  MR. SCOTT:    Middle of the day, yes.

 7                  THE COURT:    1:10?

 8                  MS. GURSTELLE:      Your Honor, I believe it's as

 9      close to 1:00 or after 1:00 as possible.

10                  THE COURT:    After 1:00.       And then again after

11      4:00?

12                  MS. GURSTELLE:      4:30, Your Honor.

13                  THE COURT:    All right.

14           (Lunch recess taken at 12:28 p.m.)

15                                *     *   *   *     *

16           (1:54 p.m.)

17                                    IN OPEN COURT

18                                 (JURY PRESENT)

19                  THE COURT:    Continue with the examination.

20                  MR. SCOTT:    Thank you, Your Honor.

21      BY MR. SCOTT:

22      Q.   Do you have your transcript books in front of you?

23      A.   Yes, sir.

24      Q.   Let's go back -- I think I was at 49, before we

25      digressed a little there, talking about religious men.             Why



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 1      don't you open 49.      The term is used several times in that

 2      conversation.

 3                  Why don't you just go to -- I think the top of

 4      page 3 or right near the top of page 3 there's a remark, "It

 5      is full of religious men.       There are several hundred

 6      religious men in there."       Do you see that?

 7      A.   Yes, I do.

 8      Q.   And the underlying word for religious men, do you know

 9      what that was, the Somali word for it?

10      A.   Wuadada.    Wuadada.

11      Q.   Can you just spell it.      I mean, I am going to

12      mispronounce it anyway, but can you --

13      A.   W-u-a-d-a-d-a.

14      Q.   And that translates to religious men?

15      A.   Exactly.

16      Q.   Now let's flip forward a couple of calls -- it's another

17      call that you have already identified -- to the call which

18      is Exhibit 52 and that's a January 11th call and I think --

19      I have to figure out exactly because I'm working from an

20      earlier draft here, but I would guess somewhere near the end

21      of page 3 or halfway down page 3 there's the words,

22      "Fighting occurred in Guriceel and 20 plus of the religious

23      youth were killed."

24      A.   Yeah, I see that.

25      Q.   Do you -- now, in this case instead of "religious men"



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 1      it says "religious youth."       Do you know what the words were

 2      that were used there?

 3      A.    I can't honestly remember that.      I'd have to re-listen

 4      to that passage.

 5      Q.    And you're not sure when you look at that whether the

 6      word "youth" there was meant to be al-Shabaab people or not

 7      al-Shabaab people by looking at that sentence; would that be

 8      fair to say?

 9      A.    Just by looking at the document I can't tell.

10      Q.    But the word that might have been used there for

11      "religious youth" might well have been the same "wuadada"?

12      A.    That's what I think, but I'm not sure unless I listen to

13      it.

14      Q.    You are going to have to, I think, shift books because I

15      have to shift books.      I've got the two volumes.      You want to

16      shift to, I think -- where I am going next is 91 and 91 is a

17      call dated February 25, 2009.

18      A.    Yeah, I have it.

19      Q.    And on page 2 of that call -- this is a line that you

20      had identified on direct examination -- there's a statement

21      from Hassan saying, "Yesterday there was a big fight."

22      A.    Uh-huh.

23      Q.    "The men from Asmara who call themselves Hizbul Islam

24      started a large fight"...       Do you see that line?

25      A.    Yes, I do.



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 1      Q.   And on direct examination -- wait a minute.         There's a

 2      sentence right at the end that says, "Afterwards, the young

 3      men, who had been misled into siding with Sharif --"             Do you

 4      see that?

 5      A.   Yes, I do.

 6      Q.   And on direct examination you said that you were not to

 7      capitalize that because they were not speaking of

 8      al-Shabaab, correct?

 9      A.   I mean the word "dhallinyarada" they used in this

10      context in my view refers to age related, young people.

11      Q.   So they used the same word?

12      A.   The word is the same.

13      Q.   But in context, as you were reading it, you said I don't

14      think that refers to al-Shabaab?

15      A.   As an organization.

16      Q.   So you were reading through it and they are obviously

17      talking about people who were siding with Sharif?

18      A.   Yeah.

19      Q.   And al-Shabaab at that time did not side with Sharif?

20      A.   Exactly.

21      Q.   Go back a couple years they did, right, when he was the

22      head of the Islamic Courts?

23      A.   When the Islamic Court --

24      Q.   Then they were siding with --

25      A.   -- had the power in Mogadishu, yes, they were part of



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 1      the Islamic Court, yes.

 2      Q.   So, again, it's how you read it in context, not

 3      necessarily the word, correct?

 4      A.   Correct.

 5      Q.   Now, let me just shift -- you're in that second book, so

 6      stay there.     Let me shift to 115, which is another one that

 7      you identified language on direct.        And I think about

 8      halfway down on page 2 of that call -- and that's a call

 9      between Amina Ali and Hawo Mohamed Hassan and about halfway

10      down that page is the part the prosecutor was talking to you

11      about on direct which starts with, "Sister!          Do you want me

12      to tell you the truth?"      Do you see that?

13      A.   I do.

14      Q.   And that's my client, Amina Ali, talking there?

15      A.   Amina --

16      Q.   "Amina" is Amina Ali?

17      A.   Yes.

18      Q.   And then she says, "We are with the youth."

19      A.   Yes.

20      Q.   And you said you believe in this case when she used that

21      word, whatever it is, that she was talking about al-Shabaab?

22      A.   The organization al-Shabaab, yes.

23      Q.   And then she said -- I'll take out the "Okay," but she

24      said, (As read) "The reason I am paying for all these

25      expenses and I am conferencing these people is to let the



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 1      people understand the truth."        Yes?

 2      A.   Yeah.

 3      Q.   And then she says, "And there is no other reason that we

 4      side with the youth."

 5      A.   Yes.

 6      Q.   So in context you're saying that she's talking about why

 7      she's siding with al-Shabaab is because they speak the

 8      truth?

 9      A.   Yes.

10      Q.   And she says right after that, (As read) "It isn't

11      because they now allied themselves with Hizbul Islam.            But

12      it is only to what is counter to the religion of Islam."

13      That's what she's saying?

14      A.   That's what she's saying, yes.

15                   MR. SCOTT:   I have no further questions.

16                   MS. GURSTELLE:    Your Honor, we have just a few

17      brief questions for Defendant Hassan for clarification.

18                   INTERPRETER:   Your Honor, I can't hear.

19                   THE COURT:   You can't hear the attorney?

20                   INTERPRETER:   I could not hear counsel.

21                   MR. SCOTT:   You weren't loud enough.

22                   MR. KELLY:   Is the mike still on?

23                   THE COURT:   It's on.    I heard her.    Speak again so

24      they can hear you.

25                   MS. GURSTELLE:    Can you hear me now?



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 1                   INTERPRETER:   Yes.

 2                   MS. GURSTELLE:    Sorry about that.

 3                   THE COURT:   Thank you, Counsel.

 4                                CROSS EXAMINATION

 5      BY MS. GURSTELLE:

 6      Q.   Now, you said that you began working at the FBI in 2005?

 7      A.   Yes.

 8      Q.   And since you have been hired you have been working on

 9      the Somali wiretaps?

10      A.   Most of the time.

11      Q.   And I think on direct what you said was that was all I

12      do, the majority of your work is the Somali wiretaps?

13      A.   Most of my work, but I work as well with other

14      languages.

15      Q.   So the majority of the work that you do, then, with the

16      FBI is to work with investigating agents and build these

17      cases based on Somali wiretaps?

18      A.   That's correct.

19      Q.   To prepare them so that the U.S. Attorneys can prosecute

20      them?

21      A.   I mean, in certain cases, but -- I mean, I work with the

22      Somali cases and then if they at the end get prosecuted or

23      not, I don't know most of the time.

24      Q.   Mr. Paulsen went through some terms that show up

25      numerous times on the transcripts and you talked about those



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 1      terms having direct translations and then what those mean in

 2      context, in different contexts.

 3                  One of the words you talked about was "jihad" and

 4      you said that that was defined as struggle or it translated

 5      to struggle?

 6      A.   (Nodding.)

 7      Q.   Now, that can be an external struggle in general and

 8      that can also be an internal struggle; isn't that correct?

 9      A.   That's correct.

10      Q.   So a person in Somali could use that word to refer to

11      their own struggle with their faith or with God?

12      A.   I guess every Muslim can use the word in that sense.

13      Q.   The other -- one of the other words you talked about was

14      "mujahidin"?

15      A.   Mooj-ah-heh-deen [phonetic], you mean?

16      Q.   Mujahidin?

17      A.   Um-hmm.

18      Q.   I believe you said that translated to a fighter for the

19      jihad?

20      A.   Exactly.

21      Q.   So would it be correct to say that's a fighter in the

22      struggle or for the struggle?

23      A.   I mean, mujahidin is a fighter in a war and fighting,

24      real physical fighting.

25      Q.   But "jihad" doesn't necessarily mean physical fighting?



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 1      A.   Not all the time, no.      It can be spiritual.     It can be

 2      [indiscernible].

 3      Q.   So if --

 4                   COURT REPORTER:    I'm sorry.    I didn't hear the

 5      last part of the answer.

 6                   THE WITNESS:   It can be like a struggle within

 7      one's self, you know, spiritual struggle, because, as you

 8      know, like, you are always tempted between good and evil and

 9      you have to choose.      That's what I mean when I say it's a

10      spiritual struggle within a person, a believer.

11      BY MS. GURSTELLE:

12      Q.   So if this translates to a fighter for jihad, then isn't

13      that saying a fighter for the struggle and that that fighter

14      could also be in an internal struggle?

15      A.   No.   In that case it's a fighter in a war, in a jihad

16      meant as a war, a wage for religious reason.

17      Q.   Okay.   So both Mr. Paulsen and Mr. Scott went through

18      some of the transcripts with you where we were looking at

19      times where "the youth" was used to refer to al-Shabaab and,

20      as you said, that's because you need to determine what they

21      were referring to based on the usage in that conversation.

22      I think you said you were making those judgment calls while

23      you were translating to the best of your ability?

24      A.   That's correct.

25      Q.   Same as what you are doing in court today when



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 1      Mr. Paulsen asks you to tell us what your opinion is whether

 2      that was the youth age or the Youth al-Shabaab?

 3      A.   Exactly.

 4      Q.   And that's the same as the word in these transcripts

 5      that shows up "courts," because we're in a court today and

 6      in some cases in the transcripts "courts" is capitalized

 7      because it's referring to the Islamic Courts, which is an

 8      organization?

 9      A.   That's correct.

10      Q.   Okay.   In both -- in the instance with "courts" and with

11      the instance with "youth," in the case of "youth," that's

12      just based on the usage, the context of that word in the

13      conversation?

14      A.   That's right.

15      Q.   I have put Exhibit 13 -- the first page of Exhibit 13 on

16      the overhead here.      Can you see that on the projector?       This

17      is a call that Mr. Paulsen played and it says at the top

18      here, it says the date, the time, and then it says,

19      "Duration:    00:23:00."    So this call that you listened to is

20      23 minutes long?

21      A.   It appears so.

22      Q.   Well, we have just one page and I think a back page as

23      well of that transcribed.       So it's only a short portion of

24      that call that's in the transcripts that we've introduced in

25      evidence here; is that correct?



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 1      A.   That's correct.

 2      Q.   So the remainder of the call we don't have, the main

 3      portion of the call isn't transcribed here?

 4      A.   Is that a question?

 5      Q.   Yes.

 6      A.   Yeah, of course.     It appears so.

 7      Q.   And you would have decided what portion of the call was

 8      pertinent to transcribe?

 9      A.   No, not me.

10      Q.   No?

11      A.   No.

12      Q.   It would have been the agents?

13      A.   The case agent will decide which portion should be

14      translated verbatim.

15      Q.   So the agents would pick what should be transcribed and

16      then the prosecutors here would decide what they wanted to

17      introduce?

18      A.   I think so.

19      Q.   So it's not the entire call?

20      A.   No, apparently it's not.

21      Q.   This is Exhibit 35 that we played earlier and that call

22      was over 34 minutes long?

23      A.   That's correct.

24      Q.   This is Exhibit 49 and you can see at the top there it

25      looks like this call was 26 minutes and 42 seconds long?



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 1      A.   Yeah, I can see that.

 2      Q.   So the agents would have told you what from that time

 3      period they wanted you to transcribe?

 4      A.   That's correct.

 5      Q.   The last tape we listened to was 52.        That was a

 6      17-minute conversation and, again, the government chose

 7      which portions of that call to transcribe?

 8      A.   That's correct.

 9      Q.   I would like to go back briefly to Exhibit 49.          Now,

10      when you told us about the calls, you told us a little bit

11      about who was being referred to as the ICU, the Islamic

12      Courts Union, and that they were ousted from Mogadishu by

13      the Transitional Federal Government.        We went through this

14      portion of 49 and Mr. Paulsen asked you about who the

15      speakers were referring to when they were using "youth" in

16      this call, I believe.

17                  Down in the middle of this call there is a

18      statement by Halima, which is I believe a nickname you said

19      for my client, Hawo Hassan, where she says, ..."when he is

20      fighting, when he is firing the bullet -- he is at a

21      frontline -- and he is firing the artillery at the

22      non-Muslim in front of him --"       Do you see that?

23      A.   Not yet.

24                  THE COURT:    Exhibit Number 49?

25                  MS. GURSTELLE:     And it's page 4 of that exhibit.



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 1                  THE WITNESS:    Oh, page 4.    Yeah, I see it.

 2      BY MS. GURSTELLE:

 3      Q.   Now, based on your knowledge of the investigation and

 4      what the parties were talking about, can you tell us who

 5      non-Muslim -- what group that's referring to?

 6      A.   The Ethiopian troops, I believe.

 7      Q.   And I believe on direct you said that the Ethiopian

 8      troops were seen by all Somalians as invaders, I think that

 9      was a statement you made?

10      A.   Yes, I did.

11                  COURT REPORTER:     Judge, one of the jurors didn't

12      hear.

13                  THE COURT:    I'm sorry.

14                  A JUROR:    I didn't hear the last thing that he had

15      said about the non-Muslims, what that meant.

16                  THE WITNESS:    The Ethiopian troops.

17                  A JUROR:    Thank you.

18                  MS. GURSTELLE:     No further questions.

19                  THE COURT:    Mr. Paulsen.

20                             REDIRECT EXAMINATION

21      BY MR. PAULSEN:

22      Q.   Mr. Scott talked about a previous version of the

23      transcripts that was given to the defense counsel in this

24      case.    In that previous version was the word "youth"

25      capitalized when you thought it meant the organization?



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 1      A.   Yes, it was.

 2      Q.   And then my office when preparing for trial for legal

 3      reasons had to make it lower case, right?

 4      A.   Yes.

 5      Q.   So that's why we went through them one by one today with

 6      you to give your opinion to the jury so that they can decide

 7      whether it should be capitalized or lower case?

 8      A.   That's correct.

 9      Q.   But originally when you did proof the transcripts, you

10      had "youth" capitalized when it meant the organization?

11      A.   Yeah, it was capitalized when it was meant to the group.

12      Q.   Okay.   And to be clear now, when al-Shabaab

13      themselves -- people in al-Shabaab refer to themselves, what

14      words do they use to describe themselves?

15      A.   They use both the name in Arabic, "al-Shabaab," and the

16      Somali name, "dhallinyarada."

17      Q.   So the head of al-Shabaab might use that "d" word to

18      describe the name of his organization?

19      A.   That's correct.

20                   MR. PAULSEN:   And at this time I would like to

21      offer Government Exhibit 271, the FTO designation.

22                   MR. SCOTT:   I am not going to object, Your Honor.

23      I think it's a self-authenticating document.

24                   MS. GURSTELLE:    No objection.

25                   THE COURT:   Be admitted.



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 1      BY MR. PAULSEN:

 2      Q.   What I am putting on the screen is Government

 3      Exhibit 271, which is a notice in the Federal Register dated

 4      February 26, 2008, and this is the document that the State

 5      Department put out, United States State Department

 6      represented by then Secretary of State Condoleezza Rice,

 7      designating al-Shabaab as a foreign terrorist organization.

 8                  And if we can zoom in on the names that are used

 9      to denote, we see that in this notice it's In the Matter of

10      the Designation of al-Shabaab, also known as al-Shabab,

11      spelled a little bit differently, a/k/a Shabaab, a/k/a the

12      Youth.

13                  Now, that word there, "the youth," in Somali what

14      would that word be?

15      A.   Dhallinyarada.

16      Q.   That "d" word we've talked about?

17      A.   Yes.

18      Q.   And then it goes on to say, "a/k/a Mujahidin Al-Shabaab

19      Movement, also known as Mujahideen Youth Movement, also

20      known as Mujahidin Youth Movement, also known as" -- there

21      "mujahidin" was spelled two different ways -- "also known as

22      MYM, also known as Harakat Shabab al-Mujahidin, also known

23      as Hizbul Shabaab, also known as Hisb'ul Shabaab," spelled a

24      different way, "also known as al-Shabaab al-Islamiya, also

25      known as Youth Wing, also known as al-Shabaab al-Islaam,



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 1      also known as al-Shabaab al-Jihaad, also known as the Unity

 2      of Islamic Youth."      And it says that this group known by all

 3      these names is being designated as a foreign terrorist

 4      organization pursuant to U.S. law.

 5                    And when we talk about needing to look at the

 6      context of words, if I had two children born on the same day

 7      they would be twins, right?

 8      A.   Right.

 9      Q.   Minnesota has a baseball team called the Minnesota

10      Twins, right?

11      A.   I don't know.    I didn't know that.

12           (Laughter.)

13      BY MR. PAULSEN:

14      Q.   Okay.    Look at juror number 8 there or 9 there and maybe

15      you will have a tip-off.       But the point is to know whether I

16      am referring to children born on the same day or to a

17      baseball team, you would need to look at the context?

18      A.   Exactly.

19      Q.   All right.    And that's what you did in determining the

20      meaning of "youth," is you looked at the context?

21      A.   Yes, because that's my job.       I mean, I am not just a

22      translator.     I am language analyst.

23      Q.   So to go back to Exhibit 52 real quick here, on page 3

24      in the middle where it says, "Fighting occurred in Guriceel

25      and 20 plus of the religious youth were killed," you would



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 1      want to read that in context, right?

 2                  Because it goes on to say, "Oh, my God."         And then

 3      it says, "We seek refuge to God; they were massacred."             And

 4      Amina Ali asks, "Do you mean AlShabab?         The youth?"       And the

 5      unknown person says, "Yes?"

 6                  So if you read that in context, does that help

 7      inform you of the meaning of the words "religious youth" up

 8      above?

 9      A.   Yes, it does.

10      Q.   Now, if we go back to -- on this issue of mujahidin,

11      let's go back to Exhibit 8 because I believe it is used

12      maybe for the first time in the binder in Exhibit 8.              Let's

13      start at the bottom of page 2.       Again, this is a

14      conversation on October 9, 2008 between the two defendants

15      in this case, Amina Ali and Hawo Hassan.

16                  At the bottom of page 2 Amina says to Hawo Hassan,

17      "I am telling you specifically to ready yourself and stand

18      up for the mujahidin, because you have slacked off when it

19      comes to the mujahidin."

20           Hawo Hassan responds, "Sister, I swear to God, I have

21      not slacked off."

22           But Amina says, "Yes."

23           And then Hawo says, "I swear to God these men do not

24      allow it in their line; don't let them deceive you,

25      sweetie."



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 1              And Amina Ali says, "Yes.    I want to tell you to speak

 2       up; speak up in the line.      You should speak up, Halima --"

 3              And she says, "I am ready to do it in your line."

 4                     And then if we jump down just a few places right

 5       to the midpoint where Amina says to Hawo, "Who has the

 6       priority?     Let the civilians die.    Sister, let the civilians

 7       die.    The mujahidin should be supported.       If the mujahidin

 8       are supported," and then the sentence runs out.

 9                     In this context -- well, first of all, there's a

10       reference to "a line" in there.       Do you know what the line

11       is?

12       A.     It's a conference call where many people log in and

13       participate in a conversation or listen to a lecture.

14       Q.     And are some of those conference calls translated and in

15       this book?

16       A.     Yes.

17       Q.     And you've reviewed those calls?

18       A.     Yes, I did.

19       Q.     And are there during those teleconferences speakers who

20       come on and after which there are pledges collected, money

21       raised?

22       A.     That's correct.

23       Q.     All right.    So in this context where we're talking about

24       the mujahidin that need to be supported through

25       teleconferences in the line, do you have an opinion on what



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 1       Hawo Hassan and Amina Ali are talking about?

 2                    MS. GURSTELLE:   Objection, 106.     I don't believe

 3       this call has been played.

 4                    THE COURT:   Go ahead.   Overruled.

 5       BY MR. PAULSEN:

 6       Q.   Do you have an opinion on the meaning of "mujahidin" in

 7       this context?

 8       A.   Repeat the question, please.

 9       Q.   Where it is said here at the top of page 3, "...ready

10       yourself and stand up for the mujahidin, because you have

11       slacked off" and later on where it says, "Let the civilians

12       die, the mujahidin should be supported," do you have an

13       opinion on what entity or entities they're talking about

14       here?

15       A.   Yes, I have an opinion.

16       Q.   What would that opinion be?

17       A.   Al-Shabaab who are fighting against the nonbelievers or

18       against the apostate.

19       Q.   You just used a word, "apostate," a-p-o-s-t-a-t-e.

20       That's an English word, "apostate."        What does --

21       A.   And when --

22       Q.   Wait.   Does that word come up in these transcripts?

23       Maybe we haven't gotten to them yet, but will that come up?

24       A.   Yes, it will come up.

25       Q.   And do Amina and Hawo Hassan use the word "apostate"?



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 1       A.   Yes, they do.

 2       Q.   And in what context do they use it?

 3       A.   When they refer to the government troops or anybody who

 4       supports them.

 5       Q.   And for those who may not know, what does "apostate"

 6       mean, what's the meaning of the word?

 7       A.   "Apostate" means a Muslim who sides with non-Muslim.

 8       Q.   So it's a nonbeliever in a way?

 9       A.   I don't know.    I think --

10       Q.   Okay.   It's a Muslim who sides with non-Muslims?

11       A.   Yeah.   But if you ask my opinion, a Muslim is a Muslim.

12       Q.   But when they use it, they are referring to a Muslim who

13       sides with the non-Muslims?

14       A.   Yes.

15       Q.   And are the Ethiopians non-Muslims?

16       A.   The Ethiopians are non-Muslims.

17                    MR. PAULSEN:   No further questions.

18                              RECROSS EXAMINATION

19       BY MR. SCOTT:

20       Q.   I was going through my notes, and this is actually not

21       responsive to your cross [sic], but it has to do with how

22       you filled out italics and underlining.

23                    I see at least one, and I know it's in several

24       spots throughout here, in which you have remarks that are

25       both underlined and italic.



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 1       A.   Could you please point --

 2       Q.   Why don't -- it's not in evidence, but so you can

 3       refresh yourself, just look at Number 1.

 4       A.   I mean, I can explain it without looking, but --

 5       Q.   I mean, it --

 6       A.   This is -- usually when we do a transcript we have a

 7       code page that explain all these different points, style and

 8       everything.

 9                     So what we do is we use the regular font for the

10       primary language, which in this case is Somali.          When we

11       translate Somali to English we use the regular font.             For

12       secondary language, in our case mostly Arabic, we use

13       underline.

14       Q.   Right.

15       A.   The tertiary language -- within our case, again, it's

16       mostly English -- we use italics.

17       Q.   And then when it's underlined and --

18       A.   Fourth, yes, and so on.

19       Q.   Because it looks -- I mean, just curiosity because I saw

20       it almost always when it looked like someone was quoting

21       from the Quran or from some saying.

22       A.   There is probably -- I don't know now, but it's a fourth

23       language involved in it.

24       Q.   Why don't you --

25       A.   Underline and italics denotes one more language.



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 1       Q.   Why don't you just flip over to 1.

 2                    MR. PAULSEN:    Just the witness?

 3                    MR. SCOTT:   Yes.

 4       BY MR. SCOTT:

 5       Q.   Flip over to Exhibit 1, not the jurors, just you,

 6       because it's not in evidence yet, just so that you can

 7       explain the term to me.

 8                    MR. PAULSEN:    What page?

 9                    MR. SCOTT:   It starts right out with it, literally

10       the first line.

11       BY MR. SCOTT:

12       Q.   And you can see as you work your way through the

13       conversation that on numerous occasions through there it is

14       both underlined and it is italicized.        Can you tell just

15       from looking at that what the original language was?

16       A.   No, I can't without listening to the audio.

17       Q.   Okay.   Because I just don't believe it could be in

18       English.

19       A.   This --

20       Q.   It looks like they're quoting from the Quran and it

21       looks like --

22       A.   It looks like, I agree with you.

23       Q.   Okay.   A side issue.

24                    Now, the prosecutor brought up that I'm working

25       from an earlier version, because I don't want to transfer



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 1       all my notes over to the ones we just got, and in some of

 2       those you had capitalized "youth," but you removed it.           You

 3       put it back in, correct, now today you put it back in?

 4       A.   Yes.

 5       Q.   Now, today you testified that "young guys" -- in several

 6       spots you identified the word "young guys" and you said

 7       that's underneath all the same word, da-ha --

 8       A.   Dhallinyarada.

 9       Q.   Yeah.   But that wasn't capitalized in your earlier

10       versions, was it, "young guys" has never been capitalized in

11       any of your versions?

12       A.   I can't tell right now.

13       Q.   Okay.   In Exhibit 14 -- and like I said, I have the

14       earlier version, but I think it should be either at the end

15       of page 1 or the start of page 2.       It's a long soliloquy

16       from Amina Ali that looks to me -- I'm peering over the

17       prosecutor's shoulder -- that it's, right, that it is the

18       second soliloquy on page 2 that starts, "And God willing, I

19       will tell the youth."      Do you see that?

20       A.   Yes, I do.

21       Q.   Okay.   And you testified that that should be

22       capitalized?

23       A.   Yes.

24       Q.   It might have even been almost the first one you

25       mentioned.    When you prepared your last version of that



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 1       call, did you capitalize "youth"?

 2       A.     Which version?

 3       Q.     The last version before this one, before the one that

 4       was prepared for the trial.

 5       A.     I mean, there have been so many, I cannot recall each

 6       one of them.

 7       Q.     Would it refresh your recollection if I showed it to

 8       you?

 9       A.     Maybe.

10       Q.     Okay.    Showing you a three-page document, does it

11       refresh your recollection as to whether or not you

12       capitalized "youth" in the earlier version of this --

13       A.     It appears I didn't.

14       Q.     -- verbatim transcript?

15       A.     It looks like I didn't.

16       Q.     Okay.    Does that refresh your recollection, then, that

17       you did not?

18       A.     Yes, it does.

19                       MR. SCOTT:    No further questions.

20                                    RECROSS EXAMINATION

21       BY MS. GURSTELLE:

22       Q.     The Somali language is an old language; isn't that

23       correct?

24       A.     I think so.

25       Q.     In your expertise do you know when the language



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 1       became -- started to be used in Somalia?

 2       A.   No, I don't.

 3       Q.   But it's old?

 4       A.   It's old.

 5       Q.   Do you know when the language was written down?

 6       A.   In 1972.

 7       Q.   And that's pretty recent?

 8       A.   Yes, because prior to 1972 Somali was not a written

 9       language, it didn't have an alphabet.

10       Q.   Are there some limitations to using the Somali language

11       in a country like America where we might have things that

12       they don't commonly have in Somalia, like escalators and

13       modern buildings?

14       A.   I guess like every other language, all these new terms,

15       scientific terms, technology terms, they usually -- I mean,

16       in my experience they use the English word kind of -- what

17       do you call it?     -- just the English word used in that

18       language kind of distorted, you know.        And that's not only

19       for Somali language.     As I say, for any language.

20       Q.   And that might be why we would see some places a word

21       said in English in these transcripts?        You said that that

22       was maybe the third language used sometimes.

23       A.   No, but this we just talk about refers more to, like,

24       new technology, scientific terms.       But usually for Somalis

25       in the U.S. it's kind of like -- it's more common maybe with



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 1       the younger people, but everybody now and then use the word

 2       in plain English while talking in Somalian.

 3       Q.   In a couple of the exhibits we talked about this morning

 4       there was mention of the Paltalk and the conference line.

 5       Now, it's not uncommon for people to use a conference line?

 6       A.   I guess so.    I never used it.    I don't know how common

 7       it is.   I don't know.

 8       Q.   Well, and it's not specific to Somalian people, I mean,

 9       teenagers use conference lines online and people connect

10       over the Internet, that's not uncommon?

11       A.   That explains it.     I'm not a teenager.

12            (Laughter.)

13       Q.   Do you know if it's common for people in the Somali

14       immigrant population to use conference lines?

15       A.   During -- like in my line of work I actually found out

16       that Somalis use that form of communication a lot.

17       Q.   And for a variety of reasons --

18       A.   Yes.

19       Q.   -- to talk about events, to talk about -- to stay in

20       touch with family that might be far away?

21                   And there's nothing per se illegal about using a

22       conference line?

23       A.   I guess not.

24                   MS. GURSTELLE:    No further questions.

25                   THE COURT:   Sir, you may step down.



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 1                   MR. PAULSEN:    I --

 2                   THE COURT:   We could go all day.

 3                   MR. PAULSEN:    I didn't have any.

 4                   THE COURT:   Sir, you may step down.

 5                   Call your next witness, please.

 6                   MR. WARD:    The government calls Matt Bryden.

 7            (Witness sworn.)

 8                   MR. WARD:    Good afternoon, Mr. Bryden.

 9                   THE COURT:   Excuse me.    Good afternoon, sir.

10       Would you state your true and correct name for the record.

11                   THE WITNESS:    Matthew David Bryden.

12                   THE COURT:   Would you spell it.

13                   THE WITNESS:    M-a-t-t-h-e-w --

14                   THE COURT:   You may inquire.

15                   MR. WARD:    Thank you, Your Honor.

16                                  (Matthew Bryden)

17                                DIRECT EXAMINATION

18       BY MR. WARD:

19       Q.   As a preliminary matter, Mr. Bryden, can you confirm for

20       me that the monitor is on in front of you.

21       A.   Yes, the monitor is on.

22       Q.   Thank you.   Mr. Bryden, can you tell the ladies and

23       gentlemen of the jury where it is you work.

24       A.   I work at the United Nations Somalia-Eritrea Monitoring

25       Group.



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 1       Q.   And what does the Somalia-Eritrea Monitoring Group do?

 2       A.   It's a sanctions monitoring team and we report to the

 3       Security Council on various violations of resolutions that

 4       the Security Council has established on Somalia, violations

 5       of the arms embargo, threats to peace and security,

 6       obstruction of humanitarian assistance, certain types of

 7       human rights violations, and the use of Shabaab-controlled

 8       ports.

 9       Q.   And when you say "Shabaab-controlled ports," can you

10       explain what that means.

11       A.   Those are ports in southern Somalia, Kismayo, Merca,

12       Brava, which are under the control of Shabaab authorities.

13       Q.   When you say "Shabaab," are you referring to the foreign

14       terrorist organization al-Shabaab?

15       A.   I am.

16       Q.   And how long have you worked for the Somalia-Eritrea

17       Monitoring Group?

18       A.   Since 2008.

19       Q.   And what's your position with the group itself?

20       A.   I am the coordinator, but I also serve as the regional

21       specialist.

22       Q.   And what does the regional specialist do?

23       A.   I'm supposed to bring the knowledge of the region of the

24       Horn of Africa to the group, to know the history, the

25       background, the politics, the dynamics.



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 1       Q.   And as the coordinator, are you overall in charge of the

 2       monitoring group?

 3       A.   Yes, I am.

 4       Q.   And can you describe for the ladies and gentlemen of the

 5       jury how it is the monitoring group does its work.

 6       A.   We are a team of eight.      We have two arms experts, one

 7       of whom is focusing on armed groups, one on weapons and

 8       ammunition; we have two transportation specialists, one on

 9       aviation, one on maritime transportation; two finance

10       experts, who look at financial flows in support of embargo

11       violations and armed groups; and a humanitarian expert as

12       well, who looks at the obstruction of humanitarian

13       assistance; and myself.

14       Q.   So now that we understand the structure of the

15       monitoring group, can you explain to the ladies and

16       gentlemen of the jury how it is you do your fact-gathering

17       for the reporting.

18       A.   Well, we travel to -- we travel in and out of Somalia.

19       We interview eyewitnesses who have direct knowledge of the

20       violations we're investigating.       We travel to other

21       countries in the region.      Sometimes we travel to Western

22       countries to talk to members of the diaspora or host

23       governments.    We cooperate with law enforcement,

24       intelligence, and the diplomatic community.

25                   We seek, as far as possible, firm evidence of the



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 1       violations we're inquiring into, documents, photographs,

 2       video, any range of investigative techniques, which we then

 3       compile in a report to the Security Council once a year.

 4                     We present also statements of case against

 5       violators, identifying those we consider to have been

 6       responsible, individuals and groups, and these cases are

 7       presented separately to the Security Council to consider

 8       targeted measures against violators.

 9       Q.   Thank you, Mr. Bryden.     In your response you used the

10       term "diaspora."     Can you explain what you mean by that.

11       A.   Diaspora being members of the Somali community or the

12       Eritrean community who live abroad.        They may be naturalized

13       citizens, they may not be citizens, but they are living

14       outside the country.

15                     In the case of Somalia, the links between the

16       diaspora and Somalia itself are very active and so we gather

17       a lot of information and we examine in detail the links

18       between Somalis living outside Somalia and those inside the

19       country in considerable detail.

20       Q.   Now, in the course of your fact-gathering do you also

21       talk to members of the militias that are active within

22       Somalia?

23       A.   We do.    We meet them both in Somalia and outside,

24       sometimes as detainees in neighboring countries.          During the

25       last year with the monitoring group, I think we interviewed



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 1       in total over a hundred members of various militia groups.

 2       Q.   Does this current position that you're in with the

 3       monitoring group get you involved in knowing the course and

 4       the events that are taking place in the Somali conflict?

 5       A.   Yes.    We always present the context before laying out

 6       the specific violations.      We have to provide council members

 7       with some sense of what has happened during the period of

 8       the mandate.    And, again, as the regional specialist it's

 9       really my responsibility to provide that context and to look

10       at the evolution of the situation on the ground within which

11       violations take place.

12       Q.   Okay.   And during that response you used the term

13       "mandate."    Can you explain to the jury what you mean by

14       that.

15       A.   The mandate is the authority under which the group

16       conducts investigations.      It's a resolution of the United

17       Nations Security Council.      Currently this is Resolution

18       2002, which was passed earlier this year.         And it's a

19       Chapter VII mandate, which means that it requires all member

20       states of the United Nations to cooperate with our work.

21       Q.   And I'm sorry if I didn't hear you.       How long is the

22       term of the mandate?

23       A.   It's a 12-month mandate.

24       Q.   And presently are you in -- if I understand you

25       correctly, are you in your fourth mandate, then?



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 1       A.   This would be my fourth mandate.

 2       Q.   And, Mr. Bryden, who appoints you to the position of

 3       coordinator for the monitoring group?

 4       A.   All members of the group are appointed by the Secretary

 5       General of the United Nations and our appointments are

 6       subject to vetting by the Somalia-Eritrea Sanctions

 7       Committee, which is a committee of all 15 members of the

 8       Security Council.

 9       Q.   Now, Mr. Bryden, prior to the time that you came to the

10       monitoring group, did you have other experience studying the

11       Somali conflict and living in Somalia?

12       A.   I have lived in and worked on Somalia in combination for

13       almost 22 years, since January 1990.

14       Q.   And if you could start at the most recent position

15       preceding your position with the monitoring group and work

16       backwards.

17       A.   Before the monitoring group I was engaged as a

18       consultant through an American contractor and through the

19       United States Agency for International Development, USAID,

20       to act as an advisor to the U.S. Embassy in Nairobi on

21       Somali affairs.     That was in 2007.

22       Q.   And at that time was there a particular issue or a

23       particular need for the embassy, the U.S. Embassy, in

24       Nairobi that called for your expertise?

25       A.   Yes.    I was engaged in January 2007 immediately after



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 1       Ethiopian forces had entered Somalia.        This was not entirely

 2       unexpected, but the timing took everyone by surprise.            It

 3       was such a major development that the embassy in Nairobi,

 4       the American embassy, felt that they didn't have sufficient

 5       knowledge or expertise of Somalia at the time in order to

 6       react to the situation and report on it accurately to

 7       Washington and so I was brought on board to assist.

 8       Q.   Okay.   And prior to that, then?

 9       A.   Prior to that I was with a nongovernmental organization

10       called the International Crisis Group.        It's an organization

11       that presents reports and analysis of conflicts and crises

12       around the world and I was the director of their Horn of

13       Africa program, which includes Somalia.

14       Q.   And we'll talk a little bit more about that in a minute.

15       Prior to your position with the International Crisis Group

16       what were you doing in relationship to Somalia?

17       A.   Prior to the International Crisis Group I was the head

18       of a research program known as the War-Torn Societies

19       Project and subsequently it was called WSP International.

20       This was a participatory research project working all over

21       Somalia and it was aimed at looking at the problems of

22       conflict resolution and post war reconstruction and

23       involving Somalis in finding solutions to their own problems

24       and trying to chart ways forward to solve those problems.

25       Q.   And approximately what years were you working in that



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 1       position?

 2       A.   From 1996 until 2002.     In 2003 I became an advisor to

 3       that project while I was also initially working with the

 4       International Crisis Group.

 5       Q.   Okay.    And prior to that was there any other relevant

 6       experience on Somalia or Somali issues?

 7       A.   I worked for two years before that in the Somali region

 8       of Ethiopia, the Ogaden it's commonly called, for the United

 9       Nations and traveling in and out of Somalia.

10                     Prior to that I served as advisor to the Canadian

11       ambassador to Somalia, which is actually the ambassador

12       based in neighboring Kenya; and I was advising on political,

13       military, and humanitarian affairs since we had a battalion

14       of Canadian troops in Somalia at the time.

15       Q.   Now, Mr. Bryden, do you speak the Somali language?

16       A.   I speak it relatively well.      I don't speak it like a

17       native speaker, but I'm conversant in it, yes.

18       Q.   Well, in preparation, for instance, for your testimony

19       today were you able to actually listen to some of the calls,

20       that will be in evidence in the government's case, in

21       Somali?

22       A.   Yes, I was, and to compare them to the transcripts.

23       Q.   And --

24                     THE COURT:   Which dialect do you speak?

25                     THE WITNESS:   I speak principally the northern



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 1       dialect of Maxaa Tiri.

 2       BY MR. WARD:

 3       Q.   Sir, if you could briefly summarize your educational

 4       background.

 5       A.   I was educated at McGill University in Montreal, joint

 6       honors in political science and history, focusing on

 7       international conflict.      And I'm currently still enrolled as

 8       a doctoral student at King's College London in the

 9       Department of War Studies doing my dissertation on

10       contemporary jihadist movements in Somalia.

11       Q.   And when do you anticipate you will complete that,

12       Mr. Bryden?

13       A.   I will start to complete it as soon as I finish this

14       mandate.

15       Q.   And when does that expire?

16       A.   That will expire at the end of July next year.

17       Q.   Mr. Bryden, I notice from looking at your resumé that

18       you've published extensively.       Other than the reports that

19       you write for the United Nations, have you written anything

20       about the foreign terrorist organization al-Shabaab?

21       A.   I have written a number of papers, almost all of them

22       public.    The International Crisis Group was -- the first

23       paper that I published was in 2005 for the Crisis Group,

24       which identified al-Shabaab before it was actually known as

25       al-Shabaab.



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 1       Q.   And, sir, in the course of your work do you attend

 2       conferences on Horn of Africa and Somali security issues?

 3       A.   I do.   I'm a fairly regular speaker at international

 4       fora speaking on Somali issues.       Also a commentator in the

 5       media and often briefing governments about their engagement

 6       in Somalia, their Somali policy.

 7       Q.   Do those government officials include government

 8       officials from the United States Department of State?

 9       A.   They do.   Department of State and Department of Defense,

10       Department of the Treasury, USAID, Department of Justice.

11       Q.   And how about for foreign governments?

12       A.   For foreign governments, I have recently briefed in the

13       U.K., Sweden, Norway, I've briefed the Kenyan government,

14       the Ethiopian government, at times the French government,

15       South African government.      Quite a number.

16                    MR. WARD:    Your Honor, the government would offer

17       Mr. Bryden -- oh, I have one further question.

18       BY MR. WARD:

19       Q.   Have you ever testified before in court as an expert?

20       A.   No, I haven't.

21                    MR. WARD:    Your Honor, with that I tender

22       Mr. Bryden as an expert in the Somali conflict and the

23       foreign terrorist organization al-Shabaab.

24                    MR. SCOTT:   I don't object, Your Honor.

25                    MS. GURSTELLE:    No objection, Your Honor.



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 1                   THE COURT:   Continue.

 2                   MR. WARD:    Thank you, Your Honor.

 3                   If I could have Government's Exhibit 253, please,

 4       onto the monitors.

 5       BY MR. WARD:

 6       Q.   Mr. Bryden, do you have in front of you Government's

 7       Exhibit 253?

 8       A.   Yes, I do.

 9       Q.   Can you identify that.

10       A.   That is a map of Somalia, showing the administrative

11       regions of the country and major towns.

12                   MR. WARD:    Your Honor --

13       BY MR. WARD:

14       Q.   Is this actually a UN map?

15       A.   Yes, this looks like it's produced by the United

16       Nations.    The text isn't clear to me, but I believe it is.

17                   MR. WARD:    Can you blow that up down there in the

18       lower left-hand corner?

19                   I would offer 253, Your Honor.

20                   THE WITNESS:    Yes, it is.

21                   MR. SCOTT:   I have no objection, Your Honor.

22                   MS. GURSTELLE:    No objection.

23                   THE COURT:   Be admitted.

24       BY MR. WARD:

25       Q.   So the map depicts Somalia.      Can you tell the ladies and



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 1       gentlemen of the jury what the term "Horn of Africa" means.

 2       A.   The Horn of Africa is, in fact, the very tip of East

 3       Africa, the point of Somalia which is actually known as

 4       Ras-Asayr.    But the horn typically includes not just

 5       Somalia, but also Ethiopia, Eritrea, Sudan, and Djibouti, so

 6       all of those countries together in the eastern corner

 7       jutting out into the Indian Ocean and the Gulf of Aden,

 8       looking somewhat like a horn and so often called the horn.

 9       Q.   Now, Mr. Bryden, can you tell the ladies and gentlemen

10       of the jury the approximate size of the country of Somalia.

11       A.   Well, in the United States it's typically compared to

12       Texas in size.

13       Q.   And what's its approximate population?

14       A.   Well, there hasn't been a census, a proper census, for

15       well over 20, almost 30 years, but the United Nations

16       estimates typically between 7 and 9 million, at a stretch

17       10 million people.

18       Q.   And what's the Somali economy consist of?

19       A.   The main activity of the Somali economy is production of

20       livestock.    Somalis are mainly pastoralists herding camels,

21       sheep, and goats, which they export to neighboring countries

22       and across the Gulf of Aden to the Arabian Peninsula.

23                    In southwest Somalia, I'm not sure if -- this area

24       here (indicating), there is also some agricultural produce,

25       farming, grains, and there used to be before the war



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 1       production of citrus fruits for export.

 2                    Those are the main features of the Somali economy.

 3       Q.   Can I ask, sir, if the country is prone to drought.

 4       A.   The country is prone to drought.       There are cyclical

 5       droughts.     Usually a very serious drought every ten years or

 6       so and minor droughts every three to five years.          It's a

 7       very arid country with only two permanent rivers running

 8       through it.

 9       Q.   And as a consequence is famine something that Somalia

10       deals with on a recurring basis?

11       A.   There have been two major famines in my experience since

12       I started working there, one in the early '90s and one that

13       is going on at present.

14       Q.   All right.    Mr. Bryden, on the map -- you indicated that

15       the map shows the regions.      How many total regions are there

16       in Somalia?

17       A.   There are 18 administrative regions.

18       Q.   And for purposes of your testimony today, can you

19       indicate for the jury where the regions Bay and Bakool are.

20       A.   These are Bay and Bakool here (indicating).

21       Q.   Okay.    And can you explain to the jury, are there

22       certain regions that are referred to as the jubbas?

23       A.   The jubbas are the regions along the Jubba River, Jubba

24       Valley in the southwest, which is here (indicating).

25       Q.   Okay.    And can you show the jury on the map where the



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 1       capitol of the country is, please.

 2       A.   That is here (indicating), Mogadishu.

 3       Q.   And close to Mogadishu is there a city named Afgoye?

 4       A.   Afgoye is just to the west of Mogadishu, here

 5       (indicating).    I am having trouble clearing my screen.

 6       Q.   Okay.   I think that I might be able to do it from here.

 7       A.   Okay.   So Afgoye is here (indicating) just to the west.

 8       Q.   Okay.   Now, in the provinces of Bay and Bakool is there

 9       a town -- and forgive me if I mispronounce it -- Baidoa?

10       A.   Yes, there is.    That's the capitol of the Bay region and

11       that is here (indicating).

12       Q.   And earlier you used the name of a port city, Kismayo.

13       Can you indicate to the jury where that is.

14       A.   That is to the south of Mogadishu, southwest, right here

15       (indicating).

16       Q.   And the significance of Kismayo to your work is that

17       it's -- if you could explain to the jury what that is.

18       A.   Kismayo is one of the four major ports in Somalia, a

19       fairly deep water port and well-developed.         It's the most

20       important port under Shabaab control.        It's the principal

21       source of revenue for al-Shabaab, sole principal source of

22       revenue from taxes and services offered at the port.

23                    It's also the center of the charcoal trade, which

24       is probably the largest income earner for al-Shabaab.            It's

25       the only part of Somalia where that trade goes on, the



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 1       burning of acacia forests and the export of charcoal to the

 2       Arabian Peninsula.     So it's a big income-earner for the

 3       movement.

 4       Q.   Approximately how long has Shabaab controlled the port

 5       of Kismayo?

 6       A.   Since 2009.

 7       Q.   And we'll get into this in a little bit more detail, but

 8       can you describe generally for the jury the areas within

 9       Somalia that you consider to be under al-Shabaab control.

10       A.   All of Somalia south of southern -- south of northern

11       Galguduud.    So south of the line I have just drawn, with the

12       exception of the capitol, Mogadishu, is considered to be

13       under al-Shabaab control.

14       Q.   Sir, there were just two other cities I wanted to ask

15       you to direct the jury's attention to.        And, again, forgive

16       my pronunciation.     Beledweyne?

17       A.   Yes, Beledweyne is here (indicating) in the -- close to

18       the Ethiopian border in the center of the country.

19       Q.   And how about Rabdhure?

20       A.   Rabdhure is just to the north of Hudur, close to the

21       Ethiopian border as well.      It's a little closer to the

22       border than the arrow I have just put on the map.

23       Q.   And as I check my notes, there are two cities to the

24       north which may be relevant to the calls in this case.

25       Hargeisa?



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 1       A.   Hargeisa is in the northwest, there (indicating), a

 2       little bit to the left of my arrow.

 3       Q.   And is that located in Somaliland?

 4       A.   That's the capitol of Somaliland, yes.

 5       Q.   And how about Bosaso?

 6       A.   Bosaso is located in the region of Puntland.         Oops, I

 7       did that wrong.     There (indicating), just to the north of

 8       the arrow I put on the map, on the coast.

 9       Q.   Thank you, Mr. Bryden.     Can you describe briefly the

10       status of Somaliland and Puntland with respect to the

11       southern portions of Somalia.

12       A.   These are autonomous regions.      Somaliland declared

13       independence in 1991, but it's not recognized as an

14       independent state.     It has its own government that controls

15       most of its territory, but not all.        The eastern part of

16       Somaliland is also the western part of Puntland, between the

17       lines that I have indicated.

18                   Puntland is also an autonomous state with its own

19       administration, self-governing.       It doesn't claim

20       independence.     It wants Somalia to be constituted as a

21       federal state with Puntland being one of those federal

22       states and it has recently started to develop a relationship

23       with the Transitional Federal Government in Mogadishu.           It's

24       been separate for some time, but they've recently started

25       talking.



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 1       Q.   Thank you.

 2                     MR. WARD:    If I could have Government's

 3       Exhibit 254.

 4       BY MR. WARD:

 5       Q.   Do you have that there, Mr. Bryden?

 6       A.   Yes, I do.

 7       Q.   Is that a map of the city of Mogadishu?

 8       A.   It is.

 9       Q.   And is it a map that you provided to me because you use

10       it in your work?

11       A.   Yes, I did indeed.

12                     MR. WARD:    Your Honor, I would offer 254.

13                     MR. SCOTT:   No objection to 254.

14                     MS. GURSTELLE:    No objection, Your Honor.

15                     THE COURT:   Be admitted.

16       BY MR. WARD:

17       Q.   Mr. Bryden, I see from the map that Mogadishu is

18       directly on the Indian Ocean, but I wanted to ask you just

19       to identify briefly for the jury where some geographic

20       locations are that are referred to in the calls in the

21       government's case.

22                     Can you point out Villa Somalia.

23       A.   Villa Somalia is approximately -- I am making a mess of

24       this -- there (indicating), a little bit above the arrow

25       that I've indicated.



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 1       Q.   Okay.   And what is Villa Somalia?

 2       A.   Villa Somalia is the presidential palace, the

 3       presidential compound.

 4       Q.   Okay.   How about the Pasta Factory?

 5       A.   The Pasta Factory is up in that part of the city there

 6       (indicating), almost at the -- there's a road junction just

 7       above the arrow I've indicated and it's slightly to the

 8       southwest of that junction.

 9       Q.   Does it operate as a pasta factory anymore?

10       A.   No.   These are names from the pre-war period.        It

11       doesn't function anymore.

12       Q.   Okay.   Is it sometimes also referred to as the Spaghetti

13       Factory?

14       A.   In Somalia it would be pasta.

15       Q.   The Bakaara?

16       A.   The Bakaara Market is actually more of a district than a

17       market.    There (indicating), where I placed the arrow.         It's

18       a fairly sprawling area of the city, quite built up now, and

19       was until recently the largest market in Mogadishu.

20       Q.   And, Mr. Bryden, my notes say "al-Umma," but I believe

21       that there is a location where Burundian troops were

22       garrisoned and if you could point that out.

23       A.   The main Burundian garrison is just above that arrow at

24       what used to be known before the war as the Jaalle Siyaad

25       Academy, a military academy.



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 1       Q.   And while we're on the subject, what are the Burundians

 2       doing in Somalia right now, why are they there?

 3       A.   The Burundians are part of an African Union peace

 4       support operation known as AMISOM, the African Union Mission

 5       in Somalia.    It's composed for the moment of mainly Ugandan

 6       troops and also a smaller contingent of Burundian.          Some

 7       other governments have recently pledged troops, including

 8       the government of Djibouti.

 9                    It operates under a United Nations mandate, but it

10       is an African Union force and its principal mission is to

11       protect the Transitional Federal institutions, the

12       government, the parliament, the members of parliament, the

13       government officials, and to allow them to operate in the

14       Somali capitol.

15       Q.   And how long have the African Union troops been deployed

16       in Somalia?

17       A.   They've been deployed -- the first contingent arrived

18       just before the Ethiopians left in January, February 2009.

19       So since late 2008 there have been Ugandan troops there.

20       Q.   Okay.    And I don't know if it's on this map or not, but

21       can you identify Elasha Biyaha.

22       A.   It isn't on this map.     It is -- it would be -- well, it

23       might be.     It would be just probably to the left of the map

24       along Afgoye Road, sort of in that general area where I have

25       put the arrow, maybe a little further.



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 1       Q.   Okay.   And what is Elasha Biyaha?

 2       A.   It just means water wells.      It was the main water

 3       pumping station for Mogadishu.       It's now a large settlement

 4       of internally displaced persons or IDPs and it's an area

 5       that has changed sides many times as a sort of front line

 6       between pro-government forces and al-Shabaab.

 7       Q.   And when you say "IDPs," are these people who are

 8       displaced from their homes because of the fighting?

 9       A.   Yes, that's right.

10                    MR. WARD:   If I could have Government's

11       Exhibit 267.

12       BY MR. WARD:

13       Q.   And, Mr. Bryden, I just wanted to ask you to briefly

14       discuss the clan system in Somalia.        I guess my real

15       question is:    What is a clan and how does it affect the

16       Somali social structure?

17       A.   Well, Somali society is organized -- has historically

18       been organized in clan lines, along clan lines.          It's known

19       as a -- to anthropologists as a segmentary lineage society.

20                    Clans are like big families and within each clan

21       there are sub-clans and sub-clans and sub-sub-clans, an

22       almost infinite layer of division, until at the very bottom

23       there is a mag-wadaag or a diya-paying group, which is

24       usually several hundred males.       That's the lowest level.

25                    And these clans have always been important and



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 1       have always been mobilized for political and military

 2       purposes, or were with a short exception during the period

 3       of military governance.

 4                   But in the absence of the state -- since the

 5       Somali government collapsed in 1991, the clan has also

 6       become a primary reference.       It's identity.    It's a form of

 7       protection, social security, and mobilization.

 8       Q.   And looking at Exhibit 267, is that a map that depicts

 9       the rough boundaries of the various clans in the country of

10       Somalia?

11       A.   Yes, it is.    It's approximate and it's far from

12       complete, but it gives a sense of how major clans are

13       distributed.

14                   MR. WARD:    Offer Government's 267, Your Honor.

15                   MR. SCOTT:    No objection, Your Honor.

16                   MS. GURSTELLE:    No objection, Your Honor.

17                   THE COURT:    Be admitted.

18       BY MR. WARD:

19       Q.   And with respect to Government's 267, Mr. Bryden, could

20       you just briefly identify for the jury the major clans

21       which -- correct me if I am wrong.        Are those the ones that

22       are in bold inside the box on the left?

23       A.   Yes, they are.     The major clans in Somalia are here

24       (indicating), referred to as the Hawiye, who inhabit mainly

25       the south and central regions; the Darod, who inhabit the



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 1       northeast and southwest; the Rahanweyn or the Digil and

 2       Mirifle group, which inhabit the pink area in the southwest;

 3       and then the Isaaq, who are often considered part of the

 4       Dir, who inhabit the northwest; and then elements of much

 5       smaller clans distributed amongst them.

 6       Q.   And can you explain to the jury the difference between

 7       the names that are in bold, for instance, where it says,

 8       "Hawiye."

 9       A.   Yes.

10       Q.   What are the names that are underneath the clan name

11       Hawiye?

12       A.   Those are sub-clans of the Hawiye, major sub-clans of

13       the Hawiye underneath.

14       Q.   Okay.   So is one's identity tied to both a clan and

15       sub-clan?

16       A.   Yes.    Some Somalis would say it's like your ZIP code.

17       It's a way of knowing who you're talking to, where they come

18       from, and whether or not there's a relationship between you

19       and the person you're talking to and whether that

20       relationship has historically involved enmity or friendship

21       and alliance.

22                    MR. WARD:   Could I have Government's Exhibit 256,

23       please.

24       BY MR. WARD:

25       Q.   In preparing for your testimony today, Mr. Bryden, did



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 1       you prepare a timeline or --

 2                   THE COURT:   Can we back up to that last map.

 3                   MR. WARD:    I'm sorry, Your Honor.

 4                   THE COURT:   Now, the clans, the ethnic groups, the

 5       clans, do they go back before occupation by European

 6       countries, Italy?

 7                   THE WITNESS:    Yes, they do, Your Honor.

 8                   THE COURT:   And was Somalia, the map of Somalia,

 9       like that prior to occupation?

10                   THE WITNESS:    The map of Somalia, Your Honor,

11       prior to the colonial period is, in fact -- essentially it's

12       what you see outside the borders of Somalia proper.          It's

13       the area inhabited by Somalis.

14                   There were only brief periods in Somali history

15       where some form of state authority came into being and

16       kingdoms in the south of the country and at one point in the

17       early 20th century a movement that covered from part of the

18       north down to part of the south, but there was no state of

19       Somalia prior to the colonial period.

20                   THE COURT:   Continue.

21       BY MR. WARD:

22       Q.   In preparing for your testimony, Mr. Bryden, did you

23       prepare, in effect, a timeline of the Somali conflict?

24       A.   Yes, I did.    I borrowed a timeline from another source

25       and have tweaked it to try and make it more accurate.



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 1       Q.   And do you have in front of you Government's 256?

 2       A.   Yes, I do.

 3       Q.   And is this the timeline that we just discussed?

 4       A.   Yes, it is.

 5                   MR. WARD:    I would offer 256, Your Honor.

 6                   MR. SCOTT:    No objection, Your Honor.

 7                   MS. GURSTELLE:    No objection, Your Honor.

 8                   THE COURT:    Be admitted.

 9       BY MR. WARD:

10       Q.   Mr. Bryden, can you tell the ladies and gentlemen of the

11       jury when Somalia gained its independence.

12       A.   Somalia gained its independence in 1960.        The British

13       part, the British Somaliland protectorate, became

14       independent on 26 June 1960 and five days later the Italian

15       part of Somalia, the south, gained independence on July 1st

16       and on the same day they unified.

17       Q.   And was there a time period during which Somalia

18       operated as a democracy?

19       A.   Yes.   For the first nine years it was a democracy, a

20       very vibrant, very active democracy.

21       Q.   And what happened?

22       A.   In 1969 the president was assassinated and the military

23       stepped in to fill the vacuum, established a military regime

24       headed by General Mohamed Siad Barre, who then ruled the

25       country for the next 21 years.



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 1       Q.   And after 21 years what became of General Siad Barre?

 2       A.   Well, he went to war with Ethiopia in 1977 and the

 3       Somali military was badly defeated, the economy suffered.

 4       And from 1978 onwards he faced insurgencies in various parts

 5       of the country that picked up momentum through the 1980s.

 6                   In 1988 full-scale war broke out starting in the

 7       northwest and in January 1991, in fact, 30 December 1990,

 8       the fighting reached Mogadishu itself and by the end of

 9       January '91 he was expelled from the capitol.         He kept

10       fighting for another year and a half before he was

11       finally -- he and his forces were chased into neighboring

12       Kenya and he died in exile.

13       Q.   And since 1991, Mr. Bryden, has there been an effective

14       central government in Somalia?

15       A.   No, there has since then been no effective central

16       government in Somalia.

17       Q.   Immediately following the fall of Siad Barre, can you

18       briefly summarize what events took place.

19       A.   I'm sorry.   Could you repeat the question?

20       Q.   After General Barre was deposed, in the immediate years

21       thereafter what events took place?

22       A.   Well, immediately after he fell, the rebel movement that

23       had taken control of the capitol -- it was called the United

24       Somali Congress and it was mainly, almost exclusively from

25       the Hawiye clan -- divided and went to war with itself.          And



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 1       so there was civil war in the capitol and much of central

 2       Somalia.

 3                   And part of the USC, the United Somali Congress,

 4       also was fighting the remains of Barre's forces.          They

 5       fought back and forth across southwestern Somalia, which

 6       created a terrible famine.

 7                   And the famine led first of all the United States

 8       to offer troops to deliver relief supplies and then the

 9       United Nations.     And so between late 1992 and 1995 there

10       was a -- there were several UN missions, one after the

11       other, to first of all deliver humanitarian assistance and

12       then to stabilize -- to attempt to stabilize Somalia.

13                   Unfortunately October 3, 1993 there was the famous

14       Black Hawk Down incident, American forces killed in the

15       streets of Mogadishu.      U.S. forces withdrew the following

16       year and the UN, having failed to establish stability,

17       withdrew in 1995.

18       Q.   Now, Mr. Bryden, after that time period, 1995, have

19       there been efforts to form a central government?

20       A.   There have been several efforts, some would say that

21       we're on the 18th or 19th effort, to form a central

22       government.    The two most important ones were:

23                   In 2000 in the neighboring country of Djibouti a

24       conference established the Transitional National Government,

25       headed by Abdiqasim Salad Hassan, and that government



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 1       returned to Mogadishu, but it failed partly because of its

 2       own shortcomings and partly because it was opposed by

 3       neighboring Ethiopia, which supported faction leaders to

 4       contain it and eventually to bring it down.

 5                    As a result, in 2002 the next attempt to form a

 6       government started.     Two years of peace talks in neighboring

 7       Kenya between the faction leaders supported by Ethiopia, the

 8       most important of whom was Abdullahi Yusuf Ahmed, who was

 9       then president of the region of Puntland, and the

10       Transitional National Government, they were supposed to come

11       up with a power-sharing arrangement.        It didn't really

12       happen.

13                    The TNG was replaced in October 2004 by the

14       Transitional Federal Government, which is the government

15       that is still in place in Mogadishu at the moment.

16       Q.   Okay.    You mentioned the name Abdullahi Yusuf.       When he

17       headed what you called the Transitional National Government,

18       did his government ever sit in Somalia?

19       A.   Yes, it did.    For the first year, from 2004 and '05, the

20       government actually sat in Nairobi, Kenya, outside the

21       country.     In 2005 it moved back into Somalia initially to

22       the town of Jowhar, just north of Mogadishu, and then it

23       moved later the same year to Baidoa in the southwest.

24       Q.   Now, initially why did it sit in Kenya?

25       A.   Because Abdullahi Yusuf considered Mogadishu not safe



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 1       enough for his government.      Many of the people in Mogadishu

 2       opposed his leadership and believed that he was seeking to

 3       impose a form of clan revenge and if he came back to

 4       Mogadishu they would fight him.       He therefore from the day

 5       he was -- almost the day he was declared president he called

 6       for 20,000 foreign troops to be deployed to assist him to

 7       return his government to Somalia.

 8       Q.   Now, that didn't happen right away, I take it?

 9       A.   No, it didn't happen right away.

10       Q.   And you indicated, then, that the latest government,

11       which is now the TFG, the Transitional Federal Government,

12       was established in --

13       A.   October 2004.

14       Q.   Okay.    So on the timeline that we're talking about, is

15       there a mistake where it says, "August 2004"?

16       A.   That's right.

17       Q.   Okay.    And was Mr. Yusuf also elected president of that

18       government?

19       A.   Well, that's when he became president.        He was not --

20       prior to 2004 there was the Transitional National Government

21       headed by Abdiqasim Salad Hassan.       Abdullahi Yusuf became

22       president in October 2004.

23       Q.   Now, moving forward on your timeline, if we could move

24       down to the bottom, did an organization known as the Islamic

25       Courts Union gain power in portions of Somalia?



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 1       A.   Yes, it did.

 2       Q.   And can you describe for the jury who the Islamic Courts

 3       Union was.

 4       A.   Well, the Islamic Courts Union -- I would really have to

 5       go back a long way, but the Courts first really appeared as

 6       courts in 1998 in several parts of Mogadishu.         There were

 7       three principal courts and a fourth south of Mogadishu in

 8       the town of Merca and this was a -- these were, again,

 9       clan-based courts, but claiming to administer Islamic law,

10       sharia law.

11                    And the most prominent figure of the Courts, the

12       leader, if you will, was Sheikh Hassan Dahir Aweys, who had

13       a history already of trying to establish Islamic law in

14       Somalia since the early 1990s.

15                    And the Courts over time gained the support of

16       much of the business community and parts of the community of

17       Mogadishu because they established for the first time, after

18       many years, law and order.

19                    And in 2006 the Islamic Courts eventually took

20       control in June 2006 of the city of Mogadishu and expanded

21       their control across much of southern Somalia.

22       Q.   And while we are on the subject, was one of the leaders

23       of the Courts an individual named Sharif -- Sheikh Sharif

24       Ahmed?

25       A.   Sheikh Sharif Sheikh Ahmed, yes.



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 1       Q.   And what became of the Islamic Courts?

 2       A.   The Islamic Courts were dismantled and displaced in

 3       December 2006 by Ethiopian forces, who entered Somalia and

 4       occupied it for two years, and parts of the Courts went

 5       underground and formed a resistance against Ethiopian

 6       occupation and part of the Courts, including Sheikh Sharif

 7       Sheikh Ahmed, traveled in various directions until gathering

 8       again in neighboring -- almost neighboring Eritrea in

 9       Asmara, the capitol city, where they formed a new movement

10       called the Alliance for the Reliberation of Somalia.

11                    That movement subsequently split.      One group

12       entered peace talks with the Transitional Federal Government

13       and that wing which was headed by Sheikh Sharif Sheikh Ahmed

14       became the new government of Somalia and Sheikh Sharif

15       Sheikh Ahmed is now the president of the Transitional

16       Federal Government.

17       Q.   Taking you back to the time frame of December 2006,

18       where was the Transitional Federal Government sitting during

19       the time that the Islamic Courts Union held power in

20       Mogadishu?

21       A.   It was based in Baidoa.

22       Q.   And at that time was Abdullahi Yusuf still the

23       president?

24       A.   Yes, he was.

25       Q.   Okay.   And so you indicated Ethiopians invaded.        Can you



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 1       tell the jury what the circumstances were behind that.

 2       A.   The Islamic Courts had taken control of Mogadishu and

 3       were expanding up to the borders of Somalia, towards Kenya

 4       and Ethiopia.

 5                    The Ethiopians have long been very much opposed to

 6       Islamist movements in Somalia, partly because there's a big

 7       Somali population and a large Muslim population in Ethiopia

 8       and they've been afraid that this would be destabilizing for

 9       Ethiopia as well.

10                    Also, some of the leaders of the Islamic Courts

11       had made hostile statements to Ethiopia and had even

12       threatened to invade, Sheikh Hassan Dahir Aweys among them,

13       and so they were very resistant to the Courts becoming an

14       authority.

15                    A second reason was that within the Courts the

16       emergence of the group that became known as al-Shabaab, this

17       group emerged as the backbone of the Courts' military

18       strength and therefore was beginning to shape the way the

19       Courts -- shape their political direction.

20                    And the Ethiopians, and not only the Ethiopians, a

21       number of foreign governments were very much concerned by

22       the influence al-Shabaab would have on the direction the

23       Courts would take.

24                    And then lastly, as the Courts -- part of the

25       Courts started to consider dialogue with the Transitional



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 1       Government to see whether or not some agreement could be

 2       reached, al-Shabaab forces started to attack positions

 3       outside Baidoa.

 4                    And I haven't mentioned, but by then there were

 5       Ethiopian forces protecting the government in Baidoa.            And

 6       as, in a sense, Shabaab started these provocations to

 7       interrupt the peace talks, Ethiopia took the opportunity to

 8       send its forces into Somalia and take control of the

 9       country.

10       Q.   And subsequent to the Ethiopians entering was there

11       another attempt to restructure the Transitional Federal

12       Government, known as the Djibouti Agreement?

13       A.   Yes.    From the end of 2006 until two thousand and --

14       late 2008 the government, the Transitional Federal

15       Government, was based in Mogadishu, headed by Abdullahi

16       Yusuf, and it was facing a very active insurgency and was

17       unable to establish its control, even with thousands of

18       Ethiopian troops.

19                    The Ethiopians finally were of the opinion that

20       there needed to be a dialogue, that the government had to

21       talk to particularly some of the clans who were supporting

22       the insurgency, parts of the Hawiye clan.         And they found

23       that President Yusuf was resistant.        He didn't want to talk

24       to anyone.    He had a reputation as a dictator and he lived

25       up to it.



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 1                    And so finally under pressure from Ethiopia, from

 2       the United States, from a number of different places he was

 3       forced to resign and peace talks in Djibouti by the rest of

 4       his government and part of the Islamic Courts and the group

 5       from Eritrea produced a new government -- that's early

 6       January 2009 -- headed by Sheikh Sharif Sheikh Ahmed, and

 7       that is the government that is now sitting in Mogadishu.

 8       Q.   Okay.   And Sheikh Sharif Sheikh Ahmed was one of the

 9       former leaders of the Islamic Courts; is that correct?

10       A.   He was the chairman of the Islamic Courts in Mogadishu

11       in 2006.

12       Q.   And as part of the Djibouti Agreement did the Ethiopian

13       forces withdraw?

14       A.   Yes, they did.

15       Q.   And that's shown on your timeline in January of 2009; is

16       that correct?

17       A.   That's correct.

18       Q.   Now, the organization known as al-Shabaab, was it part

19       of the Djibouti Agreement?

20       A.   No, it wasn't.    It opposed the Djibouti Agreement.

21       Q.   And what response did they make?

22       A.   They attacked the new government headed by Sheikh

23       Sharif.    So essentially what used to be the Islamic

24       Courts -- Shabaab had been part of the Islamic Courts --

25       formally split and al-Shabaab attacked President Sharif when



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 1       he returned to Mogadishu.

 2       Q.   And are there -- are you aware of instances where

 3       al-Shabaab compared the new government of Sheikh Sharif

 4       Sheikh Ahmed to the former government of Abdullahi Yusuf?

 5       A.   Yes.    They said essentially that this was no different

 6       from the previous government, that Sheikh Sharif had sold

 7       out, that this was now a government of apostates, and that

 8       it should be opposed.

 9       Q.   And when you use the term "apostates," can you explain

10       to the jury what that means.

11       A.   That means that they had effectively -- they were no

12       longer Muslim.     They had -- I would say they had renounced

13       their religion, but, in fact, in Shabaab's ideology Shabaab

14       gives itself the authority to designate other Muslims as

15       non-Muslims.    It's an act called takfir or takfirism.          And

16       so they essentially denounced the new government as

17       non-Muslim and therefore it would be legal for them to

18       attack it.

19       Q.   Now, I wanted to talk a little bit about al-Shabaab

20       itself.     And are you aware what the formal name is of the

21       foreign terrorist organization al-Shabaab?

22       A.   The full name is most often Harakat al-Shabaab

23       al-Mujahideen.

24                    THE COURT:   All right.   Let's stop here.     We'll

25       take a 15-minute break, 15-minute break.         All rise for the



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 1       jury.

 2            (Recess taken at 3:32 p.m.)

 3                                 *     *   *    *     *

 4            (3:53 p.m.)

 5                                     IN OPEN COURT

 6                                     (JURY PRESENT)

 7                    THE COURT:   You may continue.

 8       BY MR. WARD:

 9       Q.   Mr. Bryden, before we broke you had just told the jury

10       the formal name of al-Shabaab.          And how does the formal

11       name, how does it translate into English?

12       A.   It is the movement of the youth engaged in jihad.

13       Q.   Okay.   Also Mujahideen Youth Movement?

14       A.   Mujahideen Youth Movement, yes.

15       Q.   Okay.   Al-Shabaab, is that an Arabic term?

16       A.   Al-Shabaab is an Arabic term.

17       Q.   Is it in use in the Somali language to refer to the

18       foreign terrorist organization?

19       A.   It is in use.    It has recently entered use.       It wasn't a

20       word that I remember using in, say, the 1990s.

21       Q.   And do Somalis also refer to the foreign terrorist

22       organization by a Somali word for "youth"?

23       A.   They use the term -- they may use the term

24       "dhallinyarada."     There are other terms as well.

25       Q.   Okay.   And how about the members of al-Shabaab itself,



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 1       do they refer to themselves by the Somali word for "youth"?

 2       A.   I'm not sure how they would refer to themselves.            I

 3       think depending on the context they would also refer to

 4       themselves as mujahideen, but when speaking in veiled

 5       speeches, as it were, dhallinyarada, innamada, yaryarka.

 6       Several different terms could be used to conceal the name.

 7       Q.   All right.   Mr. Bryden, can you tell the jury what the

 8       objectives are of al-Shabaab.

 9       A.   As far as I think anyone can say, since it's a very

10       secretive organization and there are still elements about

11       its purposes and its structure that are not fully understood

12       to outsiders, to impose their version of Islamic law on

13       Somalia.

14                    And for some members of the movement, because

15       there are different ideas within the movement, some

16       apparently seek to export that version of Islamic law to

17       neighboring countries, at least to the Muslim populations in

18       those neighboring countries, and some seek to associate

19       themselves with some form of global Islamic jihad espoused

20       by other movements around the world.

21       Q.   Okay.   Well, I understand it has ambitions beyond the

22       borders of Somalia, but how about, what's its position with

23       respect to the Transitional Federal Government under Sheikh

24       Sharif Sheikh Ahmed?

25       A.   To expel, dismantle that government, and to replace it



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 1       with their own rule by force.

 2       Q.   Okay.    And when you say its brand of sharia, does it

 3       differ from other types of sharia law?

 4       A.   Absolutely.    In a way Somalia has been -- has

 5       implemented sharia law or had it as a component of its

 6       constitution ever since it was -- they received independence

 7       in 1960.     Every Somali constitution, including the current

 8       Transitional Federal Government constitution, the charters

 9       of Somaliland and Puntland establish Islam as the state

10       religion, sharia as the basis -- or Islamic sharia as the

11       basis of law, and prohibit any law that contravenes the

12       sharia.    So in a sense Somalia has always been a form of

13       Islamic state.

14       Q.   Okay.    Why isn't that good enough for al-Shabaab?

15       A.   Well, the form of Islam practiced by Somalis

16       traditionally has been a different type of Islam.          It is

17       Islam of the -- it's Sunni Islam, but of the Shafi'i legal

18       school.

19                    Typically Somalis have practiced Sufism, which is,

20       some would say, a mystical form of Islam.         It's been very

21       moderate in character.

22                    Over the last few decades there's been a growing

23       community of Salafi Muslims in Somalia, a more puritanical

24       version of Islam.

25                    And the Shabaab interpretation is the most rigid,



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 1       the most extreme, and includes elements of Islamic thought

 2       and teachings that haven't existed in Somalia before.

 3       Q.   Can you give some examples of, for instance, the

 4       punishments for --

 5       A.   Well, for example, yes, the -- everything from the

 6       punishments, the amputations, and sometimes --

 7       Q.   What are those applied for?

 8       A.   For theft a thief may have his or her hand and/or foot

 9       cut off, lashes, stoning of adulterers, executions.

10       Executions, I suppose, are not the exclusive property of

11       al-Shabaab, but executions and at times mutilations and this

12       aspect that I referred to earlier, takfirism, the authority

13       to declare someone else an apostate and therefore to make it

14       legal to kill them, these are all elements of Shabaab's

15       version of Islam that aren't shared by other parts of Somali

16       society.

17       Q.   And when you say "stoning of adulterers," are you

18       talking about being stoned to death?

19       A.   Yes.

20       Q.   And with respect to the doctrine of takfir, is that

21       sometimes implemented by beheading?

22       A.   Yes, it is.    There are regular beheadings.

23       Q.   Is there any one particular beheading that you are

24       familiar with that you could explain to the jury?

25       A.   Well, there was one that was highly publicized because



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 1       it was a driver for a UN agency, the World Food Programme,

 2       and his beheading was videotaped and circulated fairly

 3       widely.

 4       Q.   And according to Shabaab, what was the driver's crime?

 5       A.   The driver's crime was to have converted to

 6       Christianity.

 7       Q.   And was the video posted to YouTube?

 8       A.   I don't believe it was posted on YouTube.        I don't think

 9       it would have passed their filters.        But it was widely

10       circulated on other sites and even on mobile phones.

11       Q.   Now, let's talk a little bit about some of the tactics

12       that al-Shabaab uses as a military group.         First off, is it

13       a regular army?

14       A.   No, it's not a regular army.      It's more of a guerrilla

15       army.   It does have some form of regular units, but it's

16       mainly a guerrilla fighting force.

17       Q.   Does it have uniforms?

18       A.   Some of its formed units have uniforms.        They have some

19       distinctive markings, like the red shawl, the red immamad,

20       which is closely identified with al-Shabaab, but not all the

21       fighters wear it, in fact, I'd say that's probably a

22       minority, especially because Shabaab go to great pains to

23       conceal their identities.

24                   THE COURT:   I'm sorry.    I need a comparison.      Go

25       back to the interpretation of sharia law.         You talked about



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 1       Somalia.    Do you know anything about the Kingdom of Saudi

 2       Arabia?

 3                   THE WITNESS:    I know a little about the Kingdom,

 4       Your Honor.

 5                   THE COURT:    And are you able in your expert

 6       capacity to do a comparison between what happens in Saudi

 7       Arabia and Somalia or what they -- al-Shabaab's

 8       interpretation of sharia is?

 9                   THE WITNESS:    Well, Your Honor, there is -- there

10       are some similarities because both are based in the Salafi

11       or the Wahhabi school of Islam.

12                   THE COURT:    And the Wahhabi is the most

13       conservative?

14                   THE WITNESS:    The most conservative.      And from the

15       Salafi school there are broadly speaking two divergent

16       streams of thought.      One is --

17                   THE COURT:    But first let's break it down.         Both

18       Saudi Arabia and Somalia are Sunni Muslims?

19                   THE WITNESS:    That's correct.    Salafism is a

20       school of Sunni Islam.

21                   THE COURT:    Okay.   Continue.

22                   THE WITNESS:    Then, Your Honor, the Salafism

23       essentially breaks into what some would call the Salafi

24       Jihadiyya, the jihadist school of thought, and in Somalia

25       what's referred to as the Salafi Jadiidah, the new Salafis.



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 1       And Saudi Arabia currently is associated with the new

 2       Salafis.

 3                   The new Salafis espouse the spreading of their

 4       religion through example, through teaching, but essentially

 5       through peaceful means; and the Salafi Jihadiyya espouse

 6       imposing their rule essentially through violence.          In Saudi

 7       Arabia, even the government itself is engaged in containment

 8       of the Salafi Jihadiyya movement through its own criminal

 9       system.

10                   So there are, of course, similarities, both being

11       Salafis, but that is the critical distinction, is the use of

12       violence.

13                   THE COURT:   Okay.    You may continue.

14       BY MR. WARD:

15       Q.   Mr. Bryden, back on the tactics of the al-Shabaab

16       militia, do they employ a tactic known as suicide bombings?

17       A.   Yes, they do.

18       Q.   Can you describe to the jury what takes place in a

19       suicide bombing.

20       A.   Suicide bombings, there are basically two different

21       forms, what we would refer to as the VBIED, the

22       vehicle-borne improvised explosive device, and the PBIED,

23       the person-borne improvised explosive device.

24                   The PBIED is when a person straps or has strapped

25       to him or her an explosive belt, and these belts typically



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 1       in Somalia have a couple of different trigger mechanisms.

 2       One is that the person -- there have been both male and

 3       female bombers -- detonate their own belts, but usually

 4       there's also a fail-safe, which is something like a remote

 5       phone or a radio-controlled alarm.        In case the person

 6       doesn't detonate the device, then someone else watching

 7       remotely, a controller, can detonate the device to make sure

 8       that the explosion goes off.       We know this partly because in

 9       a few cases the bombs have not gone off and we've been able

10       to analyze the devices.

11                   The vehicle-borne improvised explosive device is a

12       vehicle packed with any combination of explosives, sometimes

13       incendiary, sometimes high explosive.        These can be packed

14       in the back of a truck or a Land Cruiser.         The Shabaab for

15       some reason like to use what's called the Surf.          It's a

16       four-wheel drive vehicle and it's a sort of station wagon.

17       And sometimes the explosive is packed in the door panels or

18       under the seats.     Sometimes it's just stacked in the rear.

19                   And the vehicle is driven up to a facility.           If

20       they get past any guards or any security, usually blow it up

21       inside the facility.     Other explosions, including some

22       recently, have gone off at the gates of the facility because

23       most facilities in Mogadishu and now elsewhere in Somalia

24       are better protected precisely because this has become such

25       a common tactic.



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 1       Q.   Do they also employ improvised explosive devices like

 2       roadside bombs?

 3       A.   They do indeed.    These get more and more sophisticated.

 4       An IED in Somalia -- there are some techniques that are

 5       borrowed apparently from other countries, like Iraq and

 6       Afghanistan, but in Somalia we've seen a progression from

 7       very crude devices.

 8                   Like an anti-tank mine, the pressure device for

 9       the mine is removed.     It's then wired to a trigger mechanism

10       and then often nuts and bolts or bullets will be welded onto

11       the outside of the mine to increase the fragmentation

12       effect.

13                   Increasingly now we also see the use of gas

14       cylinders, which are then -- rebar, construction steel bars,

15       are chopped up and adhered to the outside of the gas

16       cylinder or the explosive, which also increases the

17       fragmentation effect.      And these can be hidden in garbage.

18                   Then the last sort of third major form of IED is

19       in, say, a jerrycan, which would normally be containing milk

20       or vegetable oil, and it's stuffed full of TNT and then

21       wired to explode.     So it looks like an everyday item left by

22       the side of the road and it can be detonated when TFG troops

23       or AMISOM or whatever the target is drives by.

24       Q.   Thank you, Mr. Bryden.     Now, al-Shabaab has mortars, do

25       they not?



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 1       A.   They do.

 2       Q.   And do they use the -- do they set the mortars up in

 3       civilian population centers?

 4       A.   They have in the past and continue to do so.         They'll

 5       either take a mobile team with a small mortar into a

 6       neighborhood and fire from that neighborhood.         Often that

 7       involves, then, retaliatory fire from government forces or

 8       African Union forces.

 9                   They also use pickup trucks and sometimes they'll

10       place a mortar in the back of a pickup truck, drive it into

11       a neighborhood, fire, and then drive out again so they are

12       not there when the return fire comes in.

13       Q.   Is there any particular purpose behind firing from a

14       civilian population center that you know of?

15       A.   I mean, the main purpose is understood to be that by

16       attracting the fire of AU or government troops, which then

17       kill civilians, that these enemy forces of al-Shabaab will

18       be blamed, the government will be delegitimized and become

19       less popular, the presence of the AU forces likewise, and

20       eventually there will be such public opposition to these

21       forces that they'll either be defeated or they'll have to

22       withdraw.

23       Q.   Now, are there any types of activities that al-Shabaab

24       is responsible for that is directed at intimidating the

25       civilian population?



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 1       A.   They have a range of techniques to intimidate the

 2       civilian population.

 3                    One is just in areas that they control they

 4       have a highly authoritarian rule and, again, the use of

 5       amputations or executions is exemplary.        It keeps people

 6       under control.

 7                    They also use, for example, issuing of what are

 8       known as night letters, warnings, pieces of paper that can

 9       be slipped under someone's door, left at their home saying

10       you are being warned.      They do this particularly with junior

11       government officials, like district commissioners, municipal

12       officials.    You either leave government service or you or

13       your family will be killed.

14                    And, yes, SMS.   Like every 21st century movement

15       now, the use of technology to send messages, sometimes phone

16       calls.     Again, the same kind of message, leave government

17       service, don't do this, don't do that or you will suffer the

18       consequences.

19       Q.   Do they employ any type of targeted assassinations?

20       A.   Targeted assassinations are very common of both -- well,

21       government officials are routinely targeted.         They have --

22       al-Shabaab in the past first became really visible through a

23       campaign of targeted assassinations.        They killed aide

24       workers.    They killed journalists.      They killed civil

25       society Somali leaders they disagreed with, people from



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 1       nongovernmental organizations.       A very high-profile peace

 2       activist in Somalia was assassinated by al-Shabaab.          So very

 3       common.

 4                    They've also been known fairly routinely to kill

 5       members of their own ranks, especially young men who want to

 6       escape.     And, again, this is believed to have an exemplary

 7       value so that other militia don't try to escape, because

 8       they see what the consequences would be.

 9       Q.   In your experience with al-Shabaab, have people been

10       known to have been assassinated to and from -- on their way

11       to and from Friday prayer?

12       A.   Yes.    That became one of the trademarks of an al-Shabaab

13       assassination, was to kill someone usually exiting a mosque,

14       not just Friday prayer, but prayers.

15                    MR. WARD:   If I could have Government's 49,

16       please.

17       BY MR. WARD:

18       Q.   Government's 49 was addressed previously through the

19       first witness and we'll hear more about it later, but on

20       page 2, if you have it there in front of you, Mr. Bryden, if

21       you see about dead center of the page Hawo Hassan, who is

22       called Halima in this transcript, is speaking and the second

23       sentence reads, "He said, 'Why do people who come out of

24       mosques get killed?'"      And there's an indication that

25       there's laughing.     Do you see where I am talking about?



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 1       A.   Yes, I do.

 2       Q.   Is that a reference to these assassinations that we were

 3       just talking about?

 4       A.   Yes, in my assessment it is.      It's very common knowledge

 5       that this is a Shabaab tactic.

 6       Q.   And the one question I think I failed to ask you is:          In

 7       your view, is there a reason that al-Shabaab has to employ

 8       these tactics to intimidate the civilian population of

 9       Somalia?

10       A.   The only reason would appear to be that al-Shabaab is

11       not popular, it doesn't have popular support.         It's

12       politically a very weak movement and so it retains control

13       through an oppressive form of rule.

14                   These kinds of killings do two things.        One, they

15       strike fear in the population.       Secondly, over a period of

16       years they have started to eliminate Somali leaders who

17       disagree with Shabaab's way of thinking.         A whole sort of

18       intellectual caste is being eliminated year by year so

19       Shabaab, I imagine in a few years, would find itself without

20       leadership capable of standing up to them.

21       Q.   Mr. Bryden, I wanted to talk about a few al-Shabaab

22       leaders that you may be familiar with.        Do you know Mukhtar

23       Robow?

24       A.   Yes, I do.

25       Q.   And who is Mukhtar Robow?



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 1       A.   Mukhtar Robow is the -- he's one of the top leadership

 2       of al-Shabaab, probably a member of what is known as the

 3       Shura, the collective leadership of the movement.          He's the

 4       senior member of al-Shabaab from the Digil-Mirifle or the

 5       Rahanweyn clan and he's -- that's from the Bay region, Bay

 6       and Bakool region.

 7       Q.   And does he have a nickname or a kunya?

 8       A.   He is known also as Abu Mansur.

 9       Q.   And can you explain to the grand jury -- I'm sorry -- to

10       the jury what a kunya is.

11       A.   A kunya is an Arabic term for a kind of nickname, Abu,

12       Abu something, Abu Salma, Abu Mansur, Abu Salman, and these

13       are often references either to one of the companions of the

14       Prophet Muhammad or a reference to one's children or some

15       other term.    But it's a nom de guerre, it's a nickname for a

16       fighter in al-Shabaab.

17       Q.   Now, directing your attention to the time frame February

18       and March of 2009, in the course of your work did you become

19       familiar with an individual named Hassan Afgoye?

20       A.   Yes, I did.

21       Q.   And who is Hassan Afgoye?

22       A.   Hassan Afgoye, also known as Hassan Mohamed Ali, also

23       known as Abu Ayman, was appointed to governor, the senior

24       Shabaab figure, in the Bay and Bakool regions in 2009.           He

25       had a very brief term of office, I think five or six months.



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 1       Q.   And in what connection did you learn about Mr. Afgoye

 2       becoming the administrative governor of Bay and Bakool in

 3       Somalia?

 4       A.   It was noteworthy because Abu Ayman/Hassan Afgoye

 5       replaced Abu Mansur, he replaced Mukhtar Robow, who was very

 6       well-known.    He had acted as a spokesman for the movement

 7       and was very visible.       Most Shabaab leaders are not visible.

 8                    And in early 2009 the Ethiopian troops withdrew,

 9       al-Shabaab took control of much of southern Somalia.             And

10       when Mukhtar Robow arrived in Baidoa, there were still some

11       members of the Transitional Federal Parliament from his clan

12       in Baidoa.

13                    There had been an order from the top leadership of

14       al-Shabaab, particularly from the amir, Ahmed Abdi

15       [indiscernible] --

16                    COURT REPORTER:    Could you say that again a little

17       slower, please.

18                    THE WITNESS:    -- Ahmed Abdi aw-Mohamed Godane,

19       that members of the Transitional Federal Government and

20       parliament should be killed.       And Robow didn't kill I think

21       there were five members of parliament, he allowed them to

22       leave in safety, and was almost immediately replaced by Abu

23       Ayman.

24                    And so the implication being, because al-Shabaab

25       doesn't advertise these things, that because Robow wasn't



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 1       tough enough and he hadn't done what the orders were, that

 2       he was removed from office.       And Abu Ayman came in

 3       essentially to make sure that the orders of the Shura and

 4       the leadership were followed.

 5       BY MR. WARD:

 6       Q.   Did he make any public pronouncements about, you know,

 7       whether or not he would carry out the orders with respect to

 8       members of the Transitional Federal Parliament?

 9       A.   He did.    He made public statements that members of

10       parliament should be killed and would be killed if they --

11       there were none left in Baidoa at the time, but at least

12       that was his statement of intent.

13                    And then he also embarked on a series of measures

14       intended to show a crackdown, greater discipline in Baidoa

15       in terms of dress code, the chewing of khat, which

16       al-Shabaab discourages, and some security measures that he

17       put in place.

18       Q.   Okay.   And what is khat?

19       A.   Khat is a -- it's a green leaf.       It's grown in Ethiopia,

20       Kenya, and Yemen.     It's widely chewed in Somalia.       It's

21       basically a methamphetamine, a mild methamphetamine, and a

22       lot of Somali males chew it in the afternoons, sit together

23       and talk about whatever they choose to talk about.          It's a

24       stimulant.

25       Q.   Now, when -- also during the course of your work with



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 1       the monitoring group did you become aware of whether or not

 2       al-Shabaab published -- or publicized, I'm sorry, itself

 3       publicized the fact that Mr. Afgoye/Hassan Mohamed Ali had

 4       been appointed al-Shabaab administrative governor of Bay and

 5       Bakool?

 6       A.   Yes.   In my work and my previous work we rely very

 7       heavily on what we call open source intelligence and open

 8       source analysis, which is looking at local media, and

 9       assessing these public sources of information.

10                   And al-Shabaab has a number of websites and radios

11       that are identified with the movement, and communiqués

12       announcing the appointment of Abu Ayman were published on

13       these websites and over radios.

14                   MR. WARD:   And if I could have Government's

15       Exhibit 244, please.

16       BY MR. WARD:

17       Q.   And do you recognize Government's 244, Mr. Bryden?

18       A.   I do, although I can't read it.

19                   MR. WARD:   And if we could go more towards the

20       center of the page and blow it up.

21       BY MR. WARD:

22       Q.   And, sir, do you recognize that as the communiqué?

23       A.   Yes, I do.

24       Q.   And that's the one from al-Shabaab appointing Hassan

25       Afgoye/Hassan Mohamed Ali/Abu Ayman as the al-Shabaab



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 1       administrative governor of Bay and Bakool?

 2       A.   Yes, it is.

 3       Q.   And is there also a translation attached to it?

 4       A.   I don't see a translation.

 5       Q.   (Indicating.)

 6       A.   Yes.

 7       Q.   For the benefit of the jury, can you just circle the

 8       portion where it indicates that Abu Ayman is now the

 9       administrative governor of Bay and Bakool.

10                    MR. SCOTT:   Mr. Prosecutor, why don't you just

11       offer the exhibit.

12                    MR. WARD:    I'm sorry.   I offer 244, Your Honor.

13       Thank you, Mr. Scott.

14                    MR. SCOTT:   No objection.

15                    THE COURT:   Be admitted.    Any objection from --

16                    MS. GURSTELLE:     No objection.

17                    THE COURT:   Be admitted.

18       BY MR. WARD:

19       Q.   Okay.   And what's the date of the communiqué?

20       A.   I don't --

21       Q.   At the top.

22       A.   Dated 20 February 2009.

23                    THE COURT:   Can I undo all these lines or do you

24       want them in there?

25                    MR. WARD:    Oh.   Your Honor, I'll take care of that



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 1       right now.

 2       BY MR. WARD:

 3       Q.   All right.    Mr. Bryden --

 4                    THE COURT:   If I could do this.     If there's a

 5       section of an exhibit that you want the witness to read,

 6       let's blow that section up so the jury can see it, the

 7       gallery can see it, and maybe even I can see it.

 8                    MR. WARD:    Yes, Your Honor.   Can we highlight that

 9       section and blow it up.

10       BY MR. WARD:

11       Q.   Okay.   And is the top entry there the name of the

12       individual we've been talking about and referring to as

13       Hassan Afgoye?

14       A.   Yes, it is.

15       Q.   And just for the jury's benefit, the name Hassan Afgoye

16       is not here.    Can you explain how that relates to this

17       individual here.

18       A.   The use of nicknames is very common in Somalia.         Most

19       Somalis would have a nickname, for whatever reason.          Afgoye

20       is a town to the west of Mogadishu, as I indicated earlier,

21       and so the assumption would be if someone has a name like

22       Hassan Afgoye that he is actually from Afgoye, either was

23       born there or lived there for part of his life, or maybe he

24       inherited it from his father or grandfather as a nickname.

25                    But that is why we would have his proper name,



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 1       Hassan Mohamed Ali; his pre-jihadist Somali nickname, Hassan

 2       Afgoye; and then his Shabaab kunya or nickname, Abu Ayman.

 3       It can get confusing.

 4       Q.   Mr. Bryden, if we could go to --

 5                    MR. WARD:   If I could have Government's

 6       Exhibit 70, please.      I'm sorry.   I can't read my own notes.

 7       Government's Exhibit 105.      And this is a call that was

 8       addressed earlier today and would be addressed later through

 9       the testimony of Special Agent Wilson, but I would ask to

10       play the call at this point, Your Honor.

11            (Audio recording played.)

12       BY MR. WARD:

13       Q.   Mr. Bryden, I forgot to ask before we played the call:

14       According to the transcript, what's the date of the call?

15       A.   18 March 2009.

16       Q.   And are the speakers Hassan Afgoye, a/k/a Abu Ayman, and

17       Amina Ali?

18       A.   Yes, they are.

19       Q.   And directing your attention to page 2, just below the

20       midpoint --

21                    MR. WARD:   If you could blow up the part that

22       says, "Amina:    I know.    You became the Bay and Bakool

23       region's head.    Are you Abu-Aymana Ayman? ... Abu Ayman?"

24       BY MR. WARD:

25       Q.   Do you see that, sir?



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 1       A.   Yes, I do.

 2       Q.   And just below that Hassan says, ..."we were involved in

 3       a battle."    When he says "we," who was he referring to?

 4       A.   That was a battle between al-Shabaab and forces aligned

 5       with the TFG.

 6       Q.   And is there something on the facing page, page 3, that

 7       indicates to you that it was forces of the TFG?

 8       A.   Yes.

 9       Q.   Directing your attention to the center of the page where

10       it says, "Are they the Ethiopians or the so called Somalis."

11       A.   Yes.

12       Q.   Okay.    If you could explain to the jury what that means.

13       A.   The forces that al-Shabaab engaged on that day were

14       militia also from the same clan area, also from

15       Digil-Mirifle, militias that are supported by Ethiopia and

16       were trained and operated out of -- from across the border

17       in Ethiopia but, in fact, Somalis from inside Somalia.           So

18       the reference here is to say were these Ethiopian forces

19       crossing the border or were they these Somali militias

20       backed by Ethiopia.

21                    Also, the names of two of the leaders of the group

22       are well-known members of the Transitional Federal

23       Parliament.    Hassan claims these were their brothers.

24       Q.   And is that where it says, "Adan Garansoor and Adan

25       Madowbe"?



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 1       A.   That's right.

 2       Q.   Subsequent to -- or at this time did al-Shabaab claim

 3       credit for this victory against the TFG forces?

 4       A.   Yes, they did.

 5       Q.   And how did they do that, sir?

 6       A.   They issued a communiqué and reported it widely as a

 7       great victory.

 8       Q.   And when al-Shabaab issues a communiqué, can you

 9       describe to the jury how -- what media sources they use.

10       A.   They use a number of sources.      These change over time

11       because these websites are often targeted by the host

12       governments and shut down and then re-emerge under different

13       names.

14                    The most -- the best known al-Shabaab affiliated

15       websites that I believe were used at that time included

16       al-Qimmah.net, Kataaib.net, which also became Kataaib.info

17       when it was shut down and re-emerged, so one of the

18       Kataaib's.    And also increasingly one of the more

19       international jihadist media centers, al-Saha, I believe.

20       Q.   And in the same exhibit on page 4, down at the bottom,

21       do you see where there's a reference to an individual?

22       Amina Ali says, "They were arrested.        The other group -- the

23       man known as Sikiin ..."      Do you see that?

24       A.   Yes, I do.

25       Q.   Can you explain to the jury the significance of that



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 1       reference.

 2       A.   Of the name Sakiin?

 3       Q.   Yes.

 4       A.   The name Sakiin -- the best known Somali whom I think

 5       bears the nickname Sakiin is the speaker of the Transitional

 6       Federal Parliament, Sharif Hassan, widely known -- it's a

 7       disparaging nickname, not one he would be proud of -- widely

 8       known as Sharif Sakiin.

 9       Q.   And two lines above that is Amina talking about people

10       who were working at Paltalk?

11       A.   Yes.

12       Q.   And what is Paltalk?

13       A.   Paltalk, it's a system of online forums.        And al-Dawa's

14       Paltalk is one of the forums that from my own experience

15       were used to communicate al-Shabaab news to members of the

16       Somali community in the diaspora, people living abroad, and

17       also to solicit funds online.

18       Q.   And is there an indication from the conversation that

19       this man from the Transitional Federal Government has done

20       something to shut the place down?

21       A.   It would suggest that he's used his influence to have

22       the activists managing the Paltalk forum from Saudi Arabia

23       arrested and to have it shut down and that the forum has

24       migrated to a new forum, one that I am very familiar with,

25       which was the Dawah-Tawheed Paltalk forum.



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 1       Q.   When you say you are very familiar with it, do you

 2       monitor that in the course of your work with the --

 3       A.   We do monitor it in the course of our work.

 4       Q.   Going on to Government's Exhibit 70, please.

 5       Mr. Bryden, was there a time in early February 2009 when

 6       Sheikh Sharif Sheikh Ahmed, the new head of the Transitional

 7       Federal Government, attempted to install his government in

 8       Mogadishu?

 9       A.   Yes.    In the beginning of February of 2009 he returned

10       from Djibouti in order to establish his government in the

11       country.

12       Q.   And on the day that he attempted to move in, did

13       anything of particular significance happen?

14       A.   His motorcade and the presidential palace when he

15       arrived there came under mortar fire.

16       Q.   And earlier when you were looking at the map, is the

17       presidential palace called Villa Somalia?

18       A.   Yes, it is.

19       Q.   And was that the place that was shelled?

20       A.   Yes, it was.

21                    MR. WARD:   Your Honor, I would ask that -- I'm

22       sorry.

23       BY MR. WARD:

24       Q.   And is the date of the transcript on Government's 70

25       February 7, 2009?



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 1       A.   Yes, it is.

 2       Q.   And are the speakers identified as Amina Ali and Hawo

 3       Mohamed Hassan?

 4       A.   Yes, they are.

 5                   MR. WARD:   Can we play the call.

 6            (Audio recording played.)

 7                   MR. WARD:   Can we go ahead and play the second

 8       clip.

 9            (Audio recording played.)

10                   MR. WARD:   And then the final clip.

11            (Audio recording played.)

12       BY MR. WARD:

13       Q.   Mr. Bryden, with respect to the mortar bombing of Villa

14       Somalia, did al-Shabaab claim credit for that through

15       another one of these communiqués?

16       A.   Yes, they did.

17       Q.   And in the transcript itself, on the first page when it

18       refers to "Sharif," who does that refer to?

19       A.   That would be the new president, Sheikh Sharif Sheikh

20       Ahmed.

21       Q.   And later on page 3 in the third clip where Halima or

22       Hawo Hassan states, "Omar Iman held a press conference this

23       morning; he held it at the Pasta Factory," who is Omar Iman?

24       A.   Omar Iman is -- he was the, one would say, founder of

25       the group called Hizbul Islam.       He had recently returned



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 1       from Eritrea and established a new militia inside the

 2       country.    He later became the deputy to the real head of

 3       Hizbul Islam, Hassan Dahir Aweys.

 4       Q.   And is Hizbul Islam another opposition militia operating

 5       against the TFG?

 6       A.   Yes, it was.

 7       Q.   And what groups is it composed of?

 8       A.   Hizbul Islam was composed of four groups:        the Alliance

 9       for the Reliberation of Somalia based out of Asmara and

10       headed by Sheikh Hassan Dahir Aweys; the Jabhadda Islaamiga

11       Soomaaliyeed or Somali Islamic Front known as JABISO; the

12       Anole group or Anole forces, which were a very small group

13       based in the Kismayo area from the Harti clan; and the

14       fourth group were the Ras Kamboni forces, which were the

15       forces of the longstanding Islamist militia leader known as

16       Hassan Turki.

17       Q.   And, Mr. Bryden, continuing on to the final page where

18       Hawo Hassan, identified as Halima, says, "Their pictures are

19       all over Shabeelle."     What's Shabelle?

20       A.   Shabelle News is one of the foremost media houses in

21       Somalia.    It's both a radio and a website.

22       Q.   Moving to Government's Exhibit 91.       Do you have the

23       transcript for 91 in front of you, Mr. Bryden?

24       A.   Yes, I do.

25       Q.   And does it indicate a telephone conversation on the



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 1       25th of February 2009?

 2       A.   Yes, it does.

 3       Q.   And are the speakers Hassan Afgoye, a/k/a Abu Ayman, and

 4       Amina Ali?

 5       A.   Yes, they are.

 6                     MR. WARD:   May we play the call.

 7            (Audio recording played.)

 8       BY MR. WARD:

 9       Q.   Now, Mr. Bryden, this call that we just listened to,

10       Government's 91 --

11       A.   Yes.

12       Q.   -- described a suicide bombing; is that correct?

13       A.   That's correct.

14       Q.   Did al-Shabaab claim credit for a suicide bombing on the

15       Burundian forces about the time of this phone call?

16       A.   Yes, they did.

17       Q.   And were the Burundians there as part of the AU or

18       AMISOM?

19       A.   Yes, they were.

20       Q.   And did you become aware of that bombing at the time?

21       A.   I did.    The mandate of the monitoring group specifically

22       refers to attacks on African Union forces, so we have a duty

23       to investigate and report.

24       Q.   In the call Hassan Afgoye and Amina Ali are talking

25       about a three-stage suicide bombing.        Can you explain to the



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 1       jury your recollection of what happened there.

 2       A.   On the incident in question, our understanding is that

 3       the two bombers -- certainly one of them was a vendor who

 4       was well-known to the African Union forces.         He had a small

 5       shop inside the Burundian camp, the Jaalle Siyaad Academy.

 6       And another relation of his, who was known to the

 7       Burundians, was the second bomber.

 8                   It was a Sunday and so the Burundians had a small

 9       religious service, and when they exited the chapel --

10       typically on a Sunday it's a day off for most of the

11       garrison.    They had a habit of calling their families,

12       buying SIM cards and other small items to enjoy the day off.

13                   So they would go to this kiosk.       The vendor kept

14       the kiosk closed for a short period after the end of the

15       service, so the Burundian soldiers came very --

16                   MR. KELLY:   Excuse me, sir.     We are having a

17       little technical problem on our equipment here.

18            (Pause.)

19                   THE COURT:   Continue.

20                   MR. KELLY:   It's corrected, Your Honor.

21       BY MR. WARD:

22       Q.   Go ahead, Mr. Bryden.

23       A.   The Burundians, many of them came to the kiosk to buy

24       the usual phone cards and what have you and because it

25       wasn't open there was quite a crush, quite a crowd waiting



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 1       for it to open.     The vendor claimed he'd lost the key.        When

 2       he determined that there were enough soldiers around him and

 3       his kiosk, he detonated his vest.

 4                   The other suicide bomber was parked in a vehicle

 5       in another direction from the kiosk, so that when the

 6       soldiers who survived ran away from the kiosk to -- the

 7       vehicle was in the direction many of them were running and

 8       the driver of the vehicle detonated the vehicle as well.          It

 9       was more of an incendiary device, killing more soldiers.

10                   And when that had finished, the Shabaab then

11       mortared the Burundian camp and sustained mortar fire for

12       several hours throughout the afternoon.

13                   So that was the three phases, the personal or the

14       PBIED, the VBIED, and then the mortar attack.

15       Q.   Do you recall what the death toll was on the Burundian

16       forces?

17       A.   Off the top of my head I don't recall the death toll,

18       but it was in the dozens.      It was the most serious attack on

19       their camp to date.

20       Q.   And this was back in February of 2009?

21       A.   That's correct.

22       Q.   Now, in the transcript on page 2 there's a reference to

23       the Ugandans down at the bottom of the page where Amina

24       says, "Was it the Ugandans?"

25       A.   Yes.



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 1       Q.   Is there any particular significance to the Ugandans in

 2       your view?

 3       A.   The Ugandans were the main body of the force and the

 4       most active.    The Burundians came in later.       And there was a

 5       general public perception that the Ugandans were the more

 6       aggressive.    The president of Uganda was personally involved

 7       in getting this force deployed to Somalia.         And so Shabaab

 8       was generally and Hizbul Islam were more hostile to the

 9       Ugandans as the main aggressors.       The Burundians were seen

10       as having been encouraged to tag along.        They had a smaller

11       force and were less aggressive.

12       Q.   And at the center of that page Amina says, "It's exactly

13       as I read it there -- okay.       It's on Hilaac --"     Do you know

14       what Hillaac is?

15       A.   Yes.    It's actually pronounced Heh-lah [phonetic].        It's

16       the name of a website.

17       Q.   Does it distribute news from Somalia?

18       A.   It distributes news from Somalia and it tended to be

19       aligned not specifically with Shabaab information, but with

20       opposition and Islamist information.

21                    MR. WARD:   If we could go to Government's

22       Exhibit 141.

23       BY MR. WARD:

24       Q.   And looking at the transcript itself, Mr. Bryden, is

25       that the transcript of a call dated June 18, 2009?



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 1       A.   Yes, it is.

 2       Q.   And are the speakers Hawo Mohamed Hassan and Amina Ali?

 3       A.   Yes, they are.

 4                     MR. WARD:    Offer Government's Exhibit 141.

 5                     MR. SCOTT:   Same foundation objection I've had

 6       throughout, Your Honor.

 7                     MS. GURSTELLE:    No objection to this transcript.

 8                     THE COURT:   Be admitted.

 9       BY MR. WARD:

10       Q.   Now --

11                     THE COURT:   Are you going to play it?

12                     MR. WARD:    I was, Your Honor, but I was going to

13       ask a couple of background questions.

14                     THE COURT:   Go ahead.

15       BY MR. WARD:

16       Q.   Mr. Bryden, about this time, June 18th, was there a

17       suicide bombing at a hotel called the Medina?

18       A.   Yes, there was.

19       Q.   And what city is that located in?

20       A.   In Beledweyne.

21       Q.   And can you tell the ladies and gentlemen of the jury

22       what happened or what the circumstances were of that suicide

23       bombing.

24       A.   The circumstances were that the Transitional Federal

25       Government minister of national security, a man named Omar



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 1       Hashi, who was from the Hawadle clan, he had been a member

 2       of the opposition, Alliance for the Reliberation of Somalia,

 3       based in Asmara.     He was appointed to this position in

 4       President Sharif's government and returned to Mogadishu.

 5                   Beledweyne is in a very contested region.

 6       Basically the west part of the region, Hiran region, was

 7       aligned with al-Shabaab.      The clans of the eastern part more

 8       with the government.

 9                   And the minister, since this was his home region,

10       was sent there on a delegation to mobilize support for the

11       government and presumably to make some local security

12       arrangements between the clans.       They were holding meetings

13       in a major hotel in the town, called the Medina.

14                   And after one of the meetings had ended and

15       participants in the meetings and other people who were just

16       hanging around the hotel came out accompanying the

17       dignitaries to their vehicles, a vehicle drove into the

18       hotel parking lot through the main gate and detonated,

19       killing many of the participants and also civilians.

20       Q.   And did al-Shabaab claim credit for that suicide bombing

21       at the hotel, the Medina?

22       A.   Yes, they did.

23       Q.   And was the Somali -- or the ex-Somali Ethiopian

24       ambassador also killed in that attack?

25       A.   Yes.   Abdikarim Farah Laqanyo, former ambassador to



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 1       Ethiopia, was killed in the attack as well.

 2                   MR. WARD:    Can we play the call.

 3            (Audio recording played.)

 4                   THE COURT:   All right.    Let's stop here.     It's

 5       5:00.    Members of the Jury, please leave your -- please take

 6       your -- all your books back to your jury room.         Again, you

 7       cannot take them home and I do not want you looking at them

 8       unless you're in court because some of the exhibits have not

 9       been admitted into evidence yet.       I know I have allowed you

10       to take notes and that's why I want you to take them back to

11       the jury room and not leave them in your chair.

12                   We will start up again at 9:00 tomorrow morning.

13       And, again, all my earlier instructions apply, that you are

14       not to watch the news, read the newspapers, or do any

15       blogging, tweeting, Internet searches on this matter.            Enjoy

16       this wonderful weather.      Have a good evening.

17            (Jury excused.)

18                                   IN OPEN COURT

19                                (JURY NOT PRESENT)

20                   THE COURT:   Anything that we should talk about

21       before we recess?     For the government?

22                   MR. PAULSEN:    We have nothing at this time, Your

23       Honor.

24                   THE COURT:   For defense?

25                   MR. SCOTT:   I don't have anything, Your Honor.



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 1                   MS. GURSTELLE:     Nothing, Your Honor.

 2                   THE COURT:   All right.    We'll be in recess.       My

 3       class, students in my class, just stay in the courtroom and

 4       I'll be out in a few minutes after I get situated.          We'll

 5       recess for the day and we'll start up tomorrow at 9:00.

 6            (Court adjourned at 5:00 p.m.)

 7                                  *      *      *

 8

 9

10                 I, Lori A. Simpson, certify that the foregoing is a

11       correct transcript from the record of proceedings in the

12       above-entitled matter.

13

14                       Certified by:     s/ Lori A. Simpson

15                                         Lori A. Simpson, RMR-CRR

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